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 1                         THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 2

 3                         HONORABLE JANIS L. SAMMARTINO
                       UNITED STATES DISTRICT JUDGE PRESIDING
 4
          _______________________________________________________
 5

 6        F O U N D E R S T A R C O I N, I N C . , A            )    JUNE 14, 2018
          C A L I F O R N I A C O R P O R A T I O N,            )
 7                                                              )
                                   P L A I N T I F F,           )
 8                                                              )
          VS.                                                   )    NO. 18-CV-0972-JLS
 9                                                              )
          LAUNCH LABS, INC., D/B/A                              )
10        A X I O M Z E N , A C A N A D A C O R P. ,            )
                                                                )    MOTION HEARING
11                                 D E F E N D A N T.           )

12        _______________________________________________________

13

14        F O R T H E P L A I N T I F F:                STEPHEN M. LOBBIN
                                                        AUSTIN J. RICHARDSON
15                                                      JOSHUA OSBORN
                                                        FOUNDATION LAW GROUP LLP
16                                                      4 4 5 S O U T H F I G U E R O A S T R E E T, S U I T E 3 1 0 0
                                                        L O S A N G E L E S, C A      90071
17

18

19        F O R T H E D E F E N D A N T:                ADAM S. GERSHENSON
                                                        ALEX MILLER
20                                                      COOLEY LLP
                                                        4401 EASTGATE MALL
21                                                      S A N D I E G O, C A 92121

22

23

24

25        T H E C O U R T R E P O R T E R:              G A Y L E W A K E F I E L D, R P R , C R R




                                                                                                                         1
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 1        JUNE 14, 2018

 2                                                AFTERNOON SESSION

 3                     T H E C L E R K:     N U M B E R O N E O N T H E C A L E N D A R, 1 8 - C V - 9 7 2 ,

 4        F O U N D E R S T A R C O I N, I N C . V S . L A U N C H L A B S , I N C .

 5                     T H E C O U R T:     A P P E A R A N C E S, P L E A S E.

 6                     M R . L O B B I N:        S T E P H E N L O B B I N, F O U N D A T I O N L A W G R O U P H E R E

 7        I N S A N D I E G O, O N B E H A L F O F P L A I N T I F F.          WITH ME HERE TODAY IS MY

 8        C L I E N T, M R . J E V O N F E I N B L A T T, A S W E L L A S M Y A S S O C I A T E M R . J O S H

 9        O S B O R N, A N D M Y A S S O C I A T E M R . A U S T I N R I C H A R D S O N.       MR. RICHARDSON

10        W I L L B E H A N D L I N G T H E P R E S E N T A T I O N T O T H E C O U R T T O D A Y.

11                     T H E C O U R T:     THANK YOU.

12                     M R . G E R S H E N S O N:      G O O D A F T E R N O O N, Y O U R H O N O R, A D A M

13        GERSHENSON FROM COOLEY LLP ON BEHALF OF AXIOM ZEN.                                          WITH ME

14        H E R E T O D A Y I S M Y C O L L E A G U E A L E X M I L L E R, A S W E L L A S T H E G E N E R A L

15        C O U N S E L S T E V E K R A U S E.

16                     T H E C O U R T:     THANK YOU.

17                     A C O U P L E O F T H I N G S; F I R S T O F A L L , A L O T O F D O C U M E N T S

18        AND PLEADINGS WERE FILED UNDER SEAL.                                DOES THIS COURTROOM NEED

19        T O B E C L O S E D F O R P U R P O S E S O F T H I S H E A R I N G T H I S A F T E R N O O N,

20        F O L K S?

21                     M R . L O B B I N:        A L L T H I N G S B E I N G E Q U A L, Y O U R H O N O R,

22        P L A I N T I F F' S P O S I T I O N I S T H A T I T W O U L D B E N I C E T O D O T H A T.             WE

23        WOULD FEEL MORE FREE TO SPEAK REGARDING THE MATTERS THAT HAVE

24        B E E N B R I E F E D.

25                     M R . G E R S H E N S O N:      N O , Y O U R H O N O R, W E ' R E F U L L Y




                                                                                                                          2
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 1        C O M F O R T A B L E W I T H A N O P E N C O U R T R O O M.

 2                     T H E C O U R T:     SO THE OTHER THING THAT I HAVE TO THINK

 3        T H R O U G H O N T H I S I S W H E T H E R O R N O T - - I N F A C T, T H E R E' S N O B O D Y

 4        HERE.       SO IT MAY BE A MOOT QUESTION AND WE DON'T HAVE TO WORRY

 5        A B O U T I T , B U T A L S O W H E N I P U T O U T A N O R D E R I N T H I S C A S E,

 6        W H E T H E R I T N E E D S T O B E A R E D A C T E D O R D E R, A S E A L E D O R D E R, H O W W E

 7        HANDLE IT.          L E T ' S C O N T I N U E.   FOR NOW, I'M GOING TO SAY WE DON'T

 8        HAVE TO CROSS THAT BRIDGE EXCEPT -- NOBODY IS HERE EXCEPT

 9        PEOPLE FROM THE COURT AND PEOPLE YOU'VE AUTHORIZED TO BE HERE

10        WITH YOU.

11                     M R . L O B B I N:     WE'RE COMFORTABLE WITH THAT INFORMAL

12        A G R E E M E N T A M O N G S T A L L O F U S I N T H E R O O M.

13                     T H E C O U R T:     VERY WELL.           SO I HAVE A TENTATIVE RULING

14        F O R Y O U T H I S A F T E R N O O N, A N D W E H A V E A N H O U R F O R T H I S M A T T E R,

15        BUT BEFORE WE GET TO THAT, AS PART OF THE MOTION BOTH PARTIES

16        F I L E D A C O P Y O F P L A I N T I F F' S S L I D E D E C K , W H I C H W A S S E N T F R O M M R .

17        F E I N B L A T T T O M S . R E B A K, A N D P L A I N T I F F' S S L I D E D E C K C O N T A I N S A

18        SLIDE DEPICTING THE REGULATORY TEAM.                            ON THE REGULATORY TEAM

19        A R E T W O G E N T L E M E N W H O A P P A R E N T L Y W O R K E D F O R C O O L E Y.    MR.

20        P A T R I C K M U R C K A N D M R . M A R C O S A N T O R I.    O F C O U R S E, C O O L E Y I S

21        R E P R E S E N T I N G T H E D E F E N D A N T I N T H I S C A S E, S O M Y Q U E S T I O N F O R

22        D E F E N S E C O U N S E L I S , I S T H E R E A C O N F L I C T H E R E, S I R ?

23                     M R . G E R S H E N S O N:    A N E X C E L L E N T Q U E S T I O N, Y O U R H O N O R.    WE

24        HAVE DUG INTO IT AND THE TRUTH IS --

25                     T H E C O U R T:     P U L L T H E M I C A L I T T L E B I T C L O S E R.




                                                                                                                   3
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 1                      M R . G E R S H E N S O N:      O F C O U R S E.     THE ANSWER IS IT'S AN

 2        E X C E L L E N T Q U E S T I O N.     WE HAVE THOROUGHLY LOOKED INTO IT.                              THERE

 3        I S A B S O L U T E L Y N O E N G A G EM E N T L E T T E R W H A T S O E V E R B E T W E E N C O O L E Y

 4        A N D T H E P L A I N T I F F H E R E.        T H E R E W A S N O E N G A G E M E N T E N T E R E D.     WE

 5        W E R E T A K E N A B A C K.         WE NOTICED THE ISSUE ON THE SLIDE --

 6                      T H E C O U R T:        N O B O D Y S A I D A N Y T H I N G.   I WAS BLOWN AWAY

 7        THAT NOBODY WOULD ADDRESS THAT IN THE PAPERS WITH EVERYTHING

 8        T H A T W A S F I L E D, S O T E L L M E W H Y I T D O E S N' T M A T T E R.

 9                      M R . G E R S H E N S O N:      W E L L , I T D O E S N' T M A T T E R, Y O U R H O N O R,

10        B E C A U S E T H E R E I S N O C O N F L I C T.        W E ' V E D O N E T H E E T H I C A L R E S E A R C H.

11        W E F E E L W E A R E N O T C O N F L I C T E D.          WE'VE DONE THE ETHICAL

12        R E S E A R C H.   WE FEEL WE'RE NOT CONFLICTED IN ANY WAY.                                  I DON'T

13        W A N T T O C A S T A S P E R S I O N S O N T H E S L I D E D E C K, B U T T H E R E W A S N O

14        E N G A G E M E N T W I T H M R . M U R C K N O R M R . S A N T O R I.        MARCO NO LONGER

15        W O R K S F O R C O O L E Y T O B E C L E A R.

16                      T H E C O U R T:        N O , I U N D E R S T A N D T H A T , B U T M R . M U R C K,

17        P A T R I C K M U R C K, D O E S.        L E T M E A S K Y O U T H I S, S O Y O U ' R E S A Y I N G

18        T H E Y N E V E R W O R K E D T O G E T H E R.

19                      M R . G E R S H E N S O N:      THE ANSWER IS THAT FROM EVERYTHING

20        T H A T I H A V E L E A R N E D, A N D O B V I O U S L Y I W E N T T H R O U G H O U R E T H I C A L

21        COUNSEL AND KEPT A FIREWALL AND THE LIKE, IS THAT THE FOUNDER

22        O F S T A R C O I N, T O T H E E X T E N T T H A T' S A N A C T U A L E N T I T Y, O R J E V O N

23        R E A C H E D O U T , T R I E D T O W O R K W I T H T H E M , A N D W A S R E B U F F E D.

24                      T H E C O U R T:        O K A Y , F A I R E N O U G H.    THANK YOU.

25                      M R . G E R S H E N S O N:      O F C O U R S E, Y O U R H O N O R.




                                                                                                                         4
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 1                      M R . L O B B I N:    Y O U R H O N O R, I C A N A D D R E S S T H I S B R I E F L Y,

 2        AND FRANKLY I'M GRATEFUL TO THE COURT FOR BRINGING THIS UP.

 3                      T H E C O U R T:     WELL, I THINK IT'S APPALLING TO THE COURT

 4        T H A T N E I T H E R S I D E W O U L D H A V E A D D R E S SE D I T .    V E R Y Q U I C K L Y,

 5        B E C A U S E W E ' R E O N T H E C L O C K T H I S A F T E R N O O N.    W E ' V E G O T O N E H O U R.

 6                      M R . L O B B I N:    W E S C R A T C H E D O U R H E A D , I S T H I S A N I S S U E?

 7        W E D O N ' T K N O W E N O U G H F A C T S.     WE CERTAINLY KNOW WHAT OUR CLIENT

 8        D I D W H I C H W A S R E A C H E D O U T T O C O O L E Y, S H A R E I N F O R M A T I O N, A N D

 9        C O N S I D E R E N G A G E M E N T O F C O O L E Y A S T H E I R C O U N S E L; I T D I D N O T

10        M A T E R I A L I Z E.   SO WE ONLY KNEW THE FACTS FROM OUR SIDE.                             WE DID

11        N O T W A N T T O , T O U S E C O U N S E L' S W O R D, C A S T A S P E R S I O N S A T C O O L E Y

12        BECAUSE WE WOULD RATHER FOCUS ON THE MERITS OF THE RELIEF THAT

13        W E ' R E R E Q U E S T I N G R A T H E R T H A N R A I S E A C O N F L I C T I S S U E.

14                      T H E C O U R T:     YOU THINK YOU GAVE THEM CONFIDENTIAL

15        I N F O R M A T I O N?

16                      M R . L O B B I N:    I D O N ' T K N O W.

17                      T H E C O U R T:     DON'T YOU THINK THAT WOULD HAVE HELPED TO

18        K N O W A T T H I S P O I N T?

19                      M R . L O B B I N:    THERE ARE SOME OTHER ISSUES RELATING TO --

20        W E C O O P E R A T E W I T H C O O L E Y A L L T H E T I M E , M Y F I R M D O E S.       WE DO

21        O T H E R W O R K F O R T H E M.     WE SORT OF WENT BACK CHANNEL AND REALIZED

22        THAT WE DIDN'T THINK IT WAS AN ISSUE THAT NEEDED TO BE RAISED

23        I N T H I S C O N T E X T.

24                      T H E C O U R T:     NOT WITH REGARD TO THIS CLIENT BUT WITH

25        REGARD TO OTHER CLIENTS YOU'RE SPEAKING YOU WORK WITH COOLEY




                                                                                                                 5
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 1        ALL THE TIME?                I S T H A T W H A T Y O U ' R E T A L K I N G A B O U T, S I R ?

 2                         M R . L O B B I N:      T H A T' S W H A T M Y P A R T N E R S A R E T E L L I N G M E .       I

 3        DIDN'T WANT TO SAY IT WAS A CONFLICT NECESSARILY BECAUSE WE

 4        D I D N ' T K N O W E N O U G H T O R A I S E T H A T I S S U E.

 5                         T H E C O U R T:      W H A T D O Y O U S A Y T O T H A T, C O U N S E L?

 6                         M R . G E R S H E N S O N:      T H A T I S S U E I S N E I T H E R H E R E N O R T H E R E,

 7        Y O U R H O N O R.       W E H A V E D O N E A N E T H I C A L R E V I E W.         WE WERE NEVER

 8        E N G A G E D.      W E A R E N O T E N G A G E D C U R R E N T L Y.       WE ARE NOT ON BOTH

 9        S I D E S O F T H I S M A T T E R.            W E ' R E N O T P R O V I D I N G A D V I C E T O T H E M.    I

10        AM NOT IN POSSESSION OF ANY CONFIDENTIAL INFORMATION OF ANY

11        K I N D , Y O U R H O N O R, A N D T H A T W A S T H E D E C I S I O N T H A T W E R E A C H E D

12        T O T A L L Y O N T H E M E R I T S O F T H I S M A T T E R.

13                         T H E C O U R T:      SO TO THE EXTENT TO WHICH THE OTHER SIDE

14        P R E S E N T E D A N Y I N F O R M A T I O N T O C O O L E Y, I T ' S A L L B E E N W A L L E D O F F ?

15                         M R . G E R S H E N S O N:      A H U N D R E D P E R C E N T, Y O U R H O N O R.

16                         T H E C O U R T:      THEY DON'T KNOW WHETHER THEY GAVE YOU

17        ANYTHING OR NOT.                    I T ' S V E R Y S T R A N G E, F O L K S.     I CAN'T BELIEVE --

18        I'D BE SO TEMPTED -- EXCEPT I'VE GOT A TENTATIVE AND WE NEED TO

19        G E T G O I N G O N T H I S , I W O U L D B E S O T E M P T E D T O P U T T H I S O V E R.

20        YOU'RE CLEAR OF WHAT YOU GOT, BUT YOU'RE TELLING ME YOU DON'T

21        K N O W W H A T H A P P E N E D H E R E A N D S O F O R A L O T O F R E A S O N S Y O U W E R E N' T

22        I N C L I N E D T O I N Q U I R E, T H A T ' S C O N C E R N I N G.        I'M GOING TO GO AHEAD

23        W I T H T H I S A N D A C C E P T T H E F A C T T H A T I F A N Y T H I N G W A S T E N D E R E D,

24        BUT YOU DON'T KNOW IF THERE WAS ANYTHING TENDERED --

25                         M R . L O B B I N:      W E L L, W E D O K N O W A B O U T T H E M A T E R I A L S I N




                                                                                                                          6
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 1        T H E R E C O R D C E R T A I N L Y.

 2                       T H E C O U R T:     OKAY.       I'M GOING TO GET TO THOSE IN A

 3        M I N U T E.

 4                       M R . G E R S H E N S O N:   T H O S E W E R E N' T T E N D E R E D T O C O O L E Y,

 5        J U S T T O B E C L E A R.

 6                       T H E C O U R T:     I ' M S O R R Y?

 7                       M R . G E R S H E N S O N:   THE MATERIALS THAT HE'S SAYING WERE IN

 8        THE RECORD I BELIEVE HE'S SAYING WERE TENDERED TO AXIOM ZEN

 9        WHICH IS --

10                       T H E C O U R T:     E X A C T L Y.     I ' M T A L K I N G T E N D E R E D T O C O U N S E L.

11        I ' M O N L Y C O N C E R N E D N O W A B O U T C O U N S E L, N O T A X I O M, M R . L O B B I N.

12                       M R . L O B B I N:      SO COOLEY WAS -- MY CLIENT STARCOIN

13        D I S C U S S E D A P O S S I B L E E N G A G E M E N T W I T H C O O L E Y F O R S U R E.       AN

14        E N G A G E M E N T W A S N E V E R E N T E R E D, A N D T H E Y F O U N D - - O U R C L I E N T

15        F O U N D T H E I R W A Y T O U S M A N Y M O N T H S L A T E R.           WE NOTICED THAT

16        COOLEY HAD ENTER AN APPEARANCE IN THIS MATTER AS OPPOSING

17        C O U N S E L, A N D W E T H O U G H T, W E L L, G E E , T H E Y U S E D T O A L M O S T B E O U R

18        C L I E N T' S L A W Y E R, N O W T H E Y ' R E O P P O S I N G U S , S O I S T H E R E A N I S S U E

19        O F A C O N F L I C T?      DO WE WANT TO RAISE THAT?                       AND WE DECIDED THAT

20        W E D I D N ' T H A V E E N O U G H F A C T S T O R A I S E T H A T I S S U E.

21                       T H E C O U R T:     W H A T D I D Y O U N E E D T O K N O W?

22                       M R . L O B B I N:      WHETHER COOLEY HAD POSSESSION OF

23        CONFIDENTIAL INFORMATION THAT COULD BE USED ADVERSELY TO US IN

24        T H I S M A T T E R.

25                       T H E C O U R T:     AREN'T YOU IN THE BEST POSITION TO KNOW




                                                                                                                          7
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 1        W H A T Y O U R C L I E N T G A V E T O C O O L E Y, S I R ?

 2                      M R . L O B B I N:      YES, AND WE INVESTIGATED THAT AND

 3        DETERMINED IT WAS NOT ENOUGH TO RAISE AN ISSUE IN THIS

 4        P R O C E E D I N G.

 5                      T H E C O U R T:      OKAY.      YOU SATISFIED WITH THAT, SIR?

 6                      M R . G E R S H E N S O N:     I AM.

 7                      T H E C O U R T:      YOU'RE MORE POSITIVE OF YOUR POSITION

 8        B E C A U S E Y O U T H I N K T H E Y N E V E R E N G A G E D.         L E T ' S K E E P G O I N G.      THANK

 9        YOU.       S O T H A T I S S U E' S R E M O V E D.      N O B O D Y I S G O I N G T O R A I S E T H A T.

10                      S O H E R E ' S T H E T E N T A T I V E, F O L K S.         TURNING TO PLAINTIFF

11        F O U N D E R S T A R C O I N' S M O T I O N F O R P R E L I M I N A R Y I N J U N C T I O N, T H E C O U R T

12        I S T E N T A T I V E L Y I N C L I N E D T O D E N Y P L A I N T I F F' S R E Q U E S T F O R A

13        P R E L I M I N A R Y I N J U N C T I O N.

14                      A S T H E P A R T I E S A R E A W A R E, A P A R T Y S E E K I N G A P R E L I M I N A R Y

15        I N J U N C T I O N M U S T E S T A B L I S H F O U R F A C T O R S:      F I R S T, T H E L I K E L I H O O D

16        O F S U C C E S S O N T H E M E R I T S.       S E C O N D, T H E L I K E L I H O O D O F S U F F E R I N G

17        I R R E P A R A B L E H A R M I N T H E A B S E N C E O F P R E L I M I N A R Y R E L I E F.          T H I R D,

18        T H E B A L A N C E O F E Q U I T I E S T I P I N P L A I N T I F F' S F A V O R.          A N D F O U R T H,

19        T H A T A N I N J U N C T I O N I S I N T H E P U B L I C I N T E R E S T.

20                      C O N C E R N I N G P L A I N T I F F' S L I K E L I H O O D O F A S U C C E S S O N T H E

21        M E R I T S, T H E C O U R T I S T E N T A T I V E L Y I N C L I N E D T O F I N D T H A T

22        P L A I N T I F F H A S N O T E S T A B L I S H E D I T H A S A T R A D E S E C R E T.          PLAINTIFF

23        CLAIMS THAT ITS TRADE SECRET CONSISTS OF LICENSING DIGITAL

24        C O L L E C T I B L E S B A S E D O N A T H L E T E S, E N T E R T A I N E R S, A N D C E L E B R I T I E S.

25        T H E R E A R E T W O S E P A R A T E R E A S O N S W H Y T H I S I S N O T A T R A D E S E C R E T.




                                                                                                                             8
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 1        F I R S T, T H E M A T E R I A L S T H A T M R . F E I N B L A T T T R A N S P O R T E D T O

 2        DEFENDANT SIMPLY DO NOT REFLECT THE TRADE SECRET PLAINTIFF

 3        CLAIMS TO HAVE.                  T H E S L I D E D E C K A N D F O L L O W- U P E M A I L R E F L E C T A

 4        BUSINESS MODEL THAT COMMODITIZES ENTERTAINERS THROUGH A TOKEN

 5        O F F E R I N G.    ONE SLIDE STATES THAT PLAINTIFF WOULD CREATE

 6        SECURITY COMPLIANT TOKENS AND HOST THEM ON A REGULATED

 7        E X C H A N G E.    THE SLIDE DECK REFLECTS A BUSINESS MODEL TO CREATE

 8        A N I N I T I A L C O I N O F F E R I N G O R A T O K E N O F F E R I N G.          THIS IS NOT THE

 9        S A M E A S L I C E N S I N G D I G I T A L C O L L E C T I B L E S U S I N G E N T E R T A I N E R S,

10        A T H L E T E S, A N D C E L E B R I T I E S.

11                      S E C O N D, T H E L A W I S W E L L E S T A B L I S H E D T H A T I N F O R M A T I O N

12        THAT IS PUBLIC KNOWLEDGE OR GENERALLY KNOWN IN AN INDUSTRY

13        C A N N O T B E A T R A D E S E C R E T.         THE COURT IS INCLINED TO FIND THAT

14        N O M A T T E R H O W P L A I N T I F F D E F I N E S I T S T R A D E S E C R E T, T H E I D E A I S

15        P U B L I C K N O W L E D G E.      F O R E X A M P L E, D E F E N D A N T P R O D U C E D S E V E R A L

16        PUBLICLY AVAILABLE ARTICLES DESCRIBING HOW PEOPLE CAN USE TOKEN

17        O R C R Y P T O C U R R E N C Y T O I N V E S T I N A T H L E T E S, M U S I C I A N S A N D

18        C E L E B R I T I E S.   THESE ARTICLES DEMONSTRATE THAT THE IDEA

19        DESCRIBED IN THE SLIDE DECK WAS PUBLIC KNOWLEDGE BEFORE

20        FEBRUARY 8, 2018.

21                      A L T E R N A T I V E L Y, I F T H E C O U R T W E R E T O A C C E P T P L A I N T I F F' S

22        POSITION THAT IT HAS A TRADE SECRET IN LICENSING DIGITAL

23        C O L L E C T I B L E S, T H E N S U C H A P O S I T I O N I S A L S O P U B L I C K N O W L E D G E.

24        L I C E N S I N G C E L E B R I T I E S I S U S E D I N C O U N T L E S S I N D U S T R I E S.

25        P L A I N T I F F H A S N O T D E M O N S T R A T E D W H A T , S P E C I F I C A L L Y, I S U N I Q U E O R




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 1        SECRET ABOUT ITS OWN CELEBRITY LICENSING IDEA.

 2                      WITH REGARD TO WHETHER DEFENDANT MISAPPROPRIATED

 3        P L A I N T I F F' S T R A D E S E C R E T, T H E C O U R T I S I N C L I N E D T O F I N D T H A T

 4        DEFENDANT ARRIVED AT ITS PRODUCT AND BUSINESS MODEL BEFORE

 5        P L A I N T I F F S E N T T H E S L I D E D E C K T O D E F E N D A N T.      THIS IS EVIDENT

 6        F R O M T H E A R T I C L E D E F E N D A N T' S C H I E F O P E R A T I N G O F F I C E R P U B L I S H E D

 7        IN OCTOBER OF 2017.                 THAT ARTICLE SAID, "WE ARE THE FLAG BEARER

 8        FOR THE REST OF THIS ECOSYSTEM IN TERMS OF GETTING CELEBRITIES

 9        T O A S S O C I A T E W I T H K I T T I E S A N D T H E E T H E R E U M N E T W O R K. "      M O R E O V E R,

10        DEFENDANT PRODUCES EVIDENCE OF MULTIPLE ATTEMPTS TO REACH OUT

11        T O C E L E B R I T I E S B E F O R E P L A I N T I F F S E N T I T S S L I D E D E C K.

12                      F I N A L L Y, T H E C O N V E R S A T I O N T H A T U L T I M A T E L Y L E D T O

13        D E F E N D A N T' S A T T E M P T T O L I C E N S E S T E P H C U R R Y B E G A N B E F O R E

14        P L A I N T I F F S E N T I T S F O L L O W- U P E M A I L W I T H M R . C U R R Y' S L I K E N E S S.

15        THESE FACTS REVEAL THAT DEFENDANT LIKELY ARRIVED AT THE IDEA OF

16        LICENSING CELEBRITIES FOR DIGITAL COLLECTIBLES INDEPENDENTLY OF

17        P L A I N T I F F.

18                      A S T O T H E I S S U E O F C A U S A T I O N, T H E C O U R T I S T E N T A T I V E L Y

19        INCLINED TO FIND THAT PLAINTIFF HAS NOT DEMONSTRATED CAUSATION

20        B E T W E E N A M I S A P P R O P R I A T I O N A N D T H E H A R M C A U S E D T O P L A I N T I F F.

21        AS DEFENDANT POINTS OUT, THERE IS AN ENTITY NOT PRESENTLY

22        BEFORE THE COURT -- DAPPER LABS -- THAT LAUNCHED CRYPTOKITTY

23        W I T H M R . C U R R Y' S L I K E N E S S.     THE HARM IN A TRADE SECRET CASE

24        DERIVES FROM PUBLIC USE OR DISCLOSURE OF A TRADE SECRET AND IT

25        W A S D A P P E R L A B S , N O T A X I O M, T H A T L A U N C H E D M R . C U R R Y' S




                                                                                                                     10
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 1        C R Y P T O K I T T Y T O T H E G E N E R A L P U B L I C.        THIS SUGGESTS THE HARM FROM

 2        F L O W S F R O M D A P P E R, N O T A X I O M, A N D P L A I N T I F F L I K E L Y C A N N O T S H O W

 3        DEFENDANT CAUSED THE HARM.

 4                      NEXT, THE COURT IS TENTATIVELY INCLINED TO FIND IT

 5        UNLIKELY THAT PLAINTIFF WOULD SUFFER IRREPARABLE HARM IF THE

 6        C O U R T W E R E T O D E N Y I T S R E Q U E S T F O R A P R E L I M I N A R Y I N J U N C T I O N.

 7        PLAINTIFF HAS NOT PRODUCED ANY EVIDENCE THAT IT HAD OR WILL

 8        HAVE A PRODUCT THAT COULD COMPETE IN THE SAME MARKET AS

 9        D E F E N D A N T.       A C C O R D I N G L Y, P L A I N T I F F H A S N O T D E M O N S T R A T E D T H A T I T

10        H A S L O S T G O O D W I L L O R C U S T O M E R S T O D E F E N D A N T.         WITHOUT

11        A D D I T I O N A L F A C T S, C L A I M S O F I M M I N E N T, I R R E P A R A B L E I N J U R Y R E M A I N

12        S P E C U L A T I V E.

13                      PLAINTIFF RAISES THE ISSUE OF TWO INVESTORS WHO

14        I N T I M A T E D T H A T T H E Y W O U L D S I G N W I T H P L A I N T I F F, B U T S I G N E D W I T H

15        D E F E N D A N T.       W H I L E T H I S H A R M I S M O R E T A N G I B L E, D E F E N D A N T H A S

16        DEMONSTRATED THAT THESE SAME INVESTORS HAD ALREADY EXPRESSED AN

17        I N T E R E S T B E F O R E T H E F E B R U A R Y 8 T H E M A I L.         M O R E O V E R, I F P L A I N T I F F

18        W E R E A B L E T O P R E V A I L, T H I S I N J U R Y L I K E L Y C O U L D B E R E M E D Y B Y

19        M O N E T A R Y D A M A G E S R A T H E R T H A N A N I N J U N C T I O N.

20                      W I T H R E S P E C T T O B A L A N C E O F E Q U I T I E S, T H E C O U R T I S

21        TENTATIVELY INCLINED TO FIND THAT PLAINTIFF HAS NOT ESTABLISHED

22        T H E E Q U I T I E S T I P I N I T S F A V O R.           A S N O T E D E A R L I E R, P L A I N T I F F H A S

23        N O T D E M O N S T R A T E D I T H A S A P R O D U C T N E A R I N G R E L E A S E.          ON THE

24        OTHER HAND, DEFENDANT HAS BOTH A PRODUCT AND HAS ATTEMPTED TO

25        P U R S U E C E L E B R I T I E S T O A S S O C I A T E W I T H C R Y P T O K I T T I E S.     AN




                                                                                                                        11
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 1        I N J U N C T I O N A G A I N S T D E F E N D A N T C A U S E S D I R E C T A N D I M M E D I A T E H A R M.

 2        P L A I N T I F F' S H A R M I S M O R E S P E C U L A T I V E G I V E N T H E L A C K O F E V I D E N C E

 3        C O N C E R N I N G A F O R T H C O M I N G P R O D U C T.

 4                      F U R T H E R, T H E C O U R T I S I N C L I N E D T O F I N D T H A T P L A I N T I F F' S

 5        P R O P O S E D I N J U N C T I O N C R E A T E S E N F O R C E M E N T D I F F I C U L T I E S.

 6        PLAINTIFF STATES THAT IT SEEKS TO ENJOIN DEFENDANT FROM

 7        C R E A T I N G A N D S E L L I N G C O N T E N T D E R I V E D F R O M P L A I N T I F F' S

 8        C O N F I D E N T I A L I N F O R M A T I O N.   THIS COULD BE QUITE BROAD IF THE

 9        I N J U N C T I O N C O V E R S A L L C E L E B R I T Y L I C E N S E S.      I F , A L T E R N A T I V E L Y,

10        T H E S C O P E I S L I M I T E D T O A C R Y P T O K I T T Y B A S E D O N M R . C U R R Y, T H E N

11        INJUNCTION IS MOST LIKELY MOOT AS DAPPER LABS HAD TO PULL THE

12        C U R R Y C R Y P T O K I T T Y F R O M I T S W E B S I T E.

13                      T H E C O U R T W I L L A S K P L A I N T I F F, I N Q U E S T I O N S, T O D E F I N E

14        T H E S C O P E O F I T S P R O P O S E D I N J U N C T I O N, A L O N G W I T H O T H E R

15        Q U E S T I O N S, A N D W E ' L L G E T T O T H A T S H O R T L Y.

16                      IN SUM, THE COURT IS TENTATIVELY INCLINED TO FIND THAT

17        PLAINTIFF HAS NOT CARRIED ITS BURDEN TO ESTABLISH THE

18        L I K E L I H O O D O F S U C C E S S O N T H E M E R I T S, I R R E P A R A B L E H A R M , O R T H A T

19        T H E B A L A N C E O F E Q U I T I E S T I P S I N I T S F A V O R.           THUS, THE COURT IS

20        INCLINED TO FIND THAT IT IS NOT IN THE PUBLIC INTEREST TO ISSUE

21        A N I N J U N C T I O N.

22                      T H E P A R T I E S A R E R E M I N D E D T H A T T H I S I S O N L Y T H E C O U R T' S

23        TENTATIVE OPINION AND IS SUBJECT TO CHANGE IN LIGHT OF THE

24        A R G U M E N T S P R E S E N T E D T O D A Y.    I H A V E Q U E S T I O N S F O R B O T H S I D E S,

25        AND I WOULD ASK YOU TO ONLY ANSWER THE QUESTION I POSE BECAUSE




                                                                                                                           12
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 1        W H A T E V E R T I M E R E M A I N S B E T W E E N N O W A N D T H E N E X T M A T T E R, W H I C H I S

 2        SET AT 2:30, I'LL ALLOW YOU TO SPLIT THE TIME AND TELL THE

 3        COURT ANYTHING THAT YOU WOULD LIKE TO TELL ME.

 4                     S O W I T H T H A T, I W O U L D L I K E T O S T A R T W I T H P L A I N T I F F S - -

 5        M Y Q U E S T I O N S S T A R T W I T H P L A I N T I F F S.     IF YOU WOULD LIKE TO TAKE

 6        T H E P O D I U M, M R . R I C H A R D S O N.      THANK YOU, SIR.

 7                     M R . R I C H A R D S O N:      G O O D A F T E R N O O N, Y O U R H O N O R.

 8                     T H E C O U R T:     G O O D A F T E R N O O N.     MY FIRST QUESTION RELATES

 9        TO THE SLIDE DECK, WHICH I HAVE HERE.                               I WANT TO KNOW VERY

10        PRECISELY WHAT IS YOUR TRADE SECRET AND WHERE IN THIS SLIDE

11        D E C K I S I T E X P L I C I T L Y D I S C L O S E D?

12                     M R . R I C H A R D S O N:      W E L L , Y O U R H O N O R, I N Y O U R T E N T A T I V E,

13        W H I C H O B V I O U S L Y W E R E S P E C T, B U T W E D I S A G R E E W I T H A F E W C E R T A I N

14        P O I N T S O N T H E T E N T A T I V E.

15                     T H E C O U R T:     O F C O U R S E.

16                     M R . R I C H A R D S O N:      FIRST OFF, THE TOKEN ASPECT OF OUR

17        C L I E N T' S B U S I N E S S I S O N L Y A S M A L L P A R T O F I T , A N D T H A T' S

18        ACTUALLY KIND OF BEEN PUT TO THE WAYSIDE FOR NOW.                                        REALLY THE

19        F O C U S O F O U R C L I E N T' S B U S I N E S S I S D I G I T A L C O L L E C T I B L E S.

20                     T H E C O U R T:     I'M GOING TO STOP YOU, SIR, BECAUSE YOU'RE

21        G O I N G T O G E T T O T E L L M E W H A T Y O U W A N T T O T E L L M E L A T E R.              I'M

22        ASKING YOU WHAT IS YOUR TRADE SECRET AND WHERE IN THIS SLIDE

23        D E C K , W H I C H I S W H A T T H I S M O T I O N I S B A S E D O N P R E T T Y M U C H, W H E R E

24        DO YOU DISCLOSE THAT?                     B E C A U S E I C O U L D N' T F I N D I T .       YOU'VE GOT

25        TO UNDERSTAND THAT.




                                                                                                                     13
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 1                      M R . R I C H A R D S O N:      S U R E , Y O U R H O N O R.    OUR TRADE SECRET IS

 2        P A R T N E R I N G A N D U S I N G C E L E B R I T Y L I K E N E S S E S, C R E A T I N G L I C E N S E S

 3        W I T H T H E S E C E L E B R I T I E S, A T H L E T E S, E N T E R T A I N E R S T O D E V E L O P

 4        D I G I T A L C O L L E C T I B L E S, C R Y P T O C O L L E C T I B L E S.

 5                      T H E C O U R T:      OKAY.        T H A T ' S Y O U R T R A D E S E C R E T.

 6                      M R . R I C H A R D S O N:      YES.

 7                      T H E C O U R T:      W H E R E I N H E R E I S T H A T D I S C L O S E D, S I R ?

 8                      M R . R I C H A R D S O N:      IF YOU LOOK AT -- AND I DON'T HAVE THE

 9        EXACT PAGE IN FRONT OF ME, BUT THE PAGE THAT HAS A PRODUCT

10        M O C K - U P W I T H C E R T A I N C E L E B R I T I E S A N D A T H L E T E S S P E C I F I C A L L Y.

11                      T H E C O U R T:      THIS WASN'T PART OF THE ORIGINAL SLIDE

12        DECK.       T H I S W A S S E N T L A T E R.         THIS HAS THE IMAGE OF STEPH CURRY

13        ON IT.

14                      M R . R I C H A R D S O N:      YES.

15                      T H E C O U R T:      SO WHERE -- THIS IS IT?

16                      M R . R I C H A R D S O N:      T H A T ' S P A R T O F I T , Y O U R H O N O R.

17                      T H E C O U R T:      I M E A N, B A S I C A L L Y, F O R G I V E M E F O R B E I N G

18        T O U G H, B U T T H I S I S C R I T I C A L T O T H I S W H O L E C A S E .          THIS IS YOUR

19        T R A D E S E C R E T.

20                      M R . R I C H A R D S O N:      N O , T H E R E' S O T H E R P A G E S I N T H E R E T H A T

21        DISCUSS --

22                      T H E C O U R T:      SHOW ME WHERE IT IS.

23                      M R . R I C H A R D S O N:      I F Y O U T U R N T O T H E S O L U T I O N S P A G E.

24                      T H E C O U R T:      I ' V E G O T I T H E R E, A R O A D M A P , A S O L U T I O N S

25        PAGE.       O K A Y , I ' M T H E R E.




                                                                                                                       14
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 1                       M R . R I C H A R D S O N:    R I G H T.    AND ON THE SOLUTIONS PAGE IT

 2        DISCUSSES THE EXACT BUSINESS MODEL AND MARKETING PLAN THAT

 3        STARCOIN IS EMPLOYING AND PLANNING ON EMPLOYING TO CREATE ITS

 4        BUSINESS AND ESTABLISH ITSELF --

 5                       UNIDENTIFIED MAN:                IT'S THE WHOLE --

 6                       T H E C O U R T:      SIR, WE CAN'T HAVE YOU COMMENT FROM THE

 7        A U D I E N C E.    I U N D E R S T A N D T H I S I S I M P O R T A N T.

 8                       M R . R I C H A R D S O N:    A N D A L S O O N T H E B U S I N E S S M O D E L P A G E.

 9                       T H E C O U R T:      Y O U U N D E R S T A N D, B E C A U S E Y O U ' V E R E A D T H I S

10        J U S T T H E W A Y I H A V E, T H A T T H I S T A L K S A B O U T C O M M O D I T I Z A T I O N O F

11        E N T E R T A I N M E N T, A N D B U S I N E S S E S, A N D E N T E R T A I N E R S,

12        COMMODITIZATION THROUGH A TOKEN -- A REGULATED TOKEN AND

13        C R E A T I N G A M A R K E T P L A C E.     IT DOES NOT TALK ABOUT CELEBRITY

14        I M A G E S A N D C O L L E C T I B L E S.     I T ' S V E R Y D I F F E R E N T.

15                       M R . R I C H A R D S O N:    WELL, IT DOES IN THE BUSINESS MODEL

16        PART.

17                       T H E C O U R T:      LET'S GO THERE BECAUSE IT'S NOT ON THIS

18        PAGE.        L E T ' S G O T O B U S I N E S S M O D E L.       OKAY, SO SHOW ME ON THE

19        B U S I N E S S M O D E L.

20                       M R . R I C H A R D S O N:    ON THE BUSINESS MODEL PAGE, IT

21        D I S C U S S E S T H E D E V E L O P M E N T O F C R Y P T O C O L L E C T I B L E S.

22                       T H E C O U R T:      N O , I T D O E S N' T E V E R T A L K A B O U T

23        C O L L E C T I B L E S.     THERE IS NOTHING IN THIS DOCUMENT THAT TALKS

24        A B O U T C O L L E C T I B L E S.    I T T A L K S A B O U T T O K E N S.      IT TALKS ABOUT

25        C O M M O D I T I Z I N G C E L E B R I T I E S, B E T H E Y E N T E R T A I N E R S, A T H L E T E S,




                                                                                                                      15
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 1        W H A T E V E R.     I T T A L K S A B O U T A T O K E N.      IT TALKS ABOUT A REGULATED

 2        M A R K E T.       THAT'S DIFFERENT THAN A COLLECTIBLE THAT HAS VALUE

 3        T H A T M A Y B E E N H A N C E D W I T H A C E L E B R I T Y.

 4                       M R . R I C H A R D S O N:   R I G H T, Y O U R H O N O R, A N D I T H I N K Y O U

 5        T O U C H E D O N I T W I T H T H E C O M M O D I T I Z A T I O N.       N O W , T H E R E' S T W O

 6        A S P E C T S O F T H E C O M M O D I T I Z A T I O N.    T H E R E' S W H A T W E W E R E T A L K I N G

 7        A B O U T W I T H T H E C R E A T I O N O F T H E T O K E N S A N D T H E R E' S A L S O T H E

 8        COMMODITIZATION OF -- I WASN'T NECESSARILY PLANNING ON SPEAKING

 9        SPECIFICALLY ABOUT THE TRADE SECRETS TODAY BECAUSE OF THE

10        P U B L I C F O R U M.

11                       T H E C O U R T:     WE'RE IN A CLOSED COURTROOM RIGHT NOW, AND

12        Y O U ' R E A S K I N G M E T O S H U T T H E M D O W N B A S E D O N Y O U R T R A D E S E C R E T.

13        SO I DON'T KNOW IF WE NEED TO GO ANY FARTHER IF YOU CAN'T TELL

14        ME WHAT THE TRADE SECRET IS AND HOW IT IS YOU DISCLOSED IT TO

15        A X I O M.

16                       M R . R I C H A R D S O N:   R E S P E C T F U L L Y, Y O U R H O N O R, W E ' R E N O T

17        T R Y I N G T O S H U T T H E M D O W N.

18                       T H E C O U R T:     T H A T M A Y B E A L I T T L E B I T S T R O N G, B U T Y O U ' R E

19        A S K I N G M E T O E N J O I N T H E M, A P R E L I M I N A R Y I N J U N C T I O N.

20                       M R . R I C H A R D S O N:   Y E S , Y O U R H O N O R.      THEY'VE ESTABLISHED

21        T H E I R C R Y P T O K I T T I E S B U S I N E S S, S E C U R E D $ 1 2 M I L L I O N I N F U N D I N G

22        W I T H O U T A N Y C E L E B R I T Y P A R T N E R S H I P S O R L I K E N E S S E S.   THE

23        CURRYKITTY DID NOT COME UNTIL MUCH AFTER THE CREATION OF

24        C R Y P T O K I T T I E S, S O I N T E R M S O F T H E B A L A N C I N G O F T H E - -

25                       T H E C O U R T:     K E E P G O I N G.




                                                                                                                     16
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 1                      M R . R I C H A R D S O N:    IN TERMS OF THE BALANCING OF THE

 2        H A R D S H I P S, A X I O M Z E N W I L L S U F F E R N O H A R D S H I P S I F T H I S

 3        I N J U N C T I O N I S C R E A T E D.

 4                      T H E C O U R T:     WELL, WE'RE NOT ANYWHERE CLOSE TO THAT YET.

 5        Y O U H E A R D T H E C O U R T' S T E N T A T I V E.       B A S I C A L L Y T H I S D O C U M E N T, T H I S

 6        S L I D E D E C K D O E S N O T C O N T A I N, S I R , A N D I ' M T R Y I N G T O S A Y T H I S A S

 7        K I N D A S I C A N , D O E S N O T C O N T A I N W H A T Y O U S A Y I T C O N T A I N S.                 IT

 8        D O E S N O T T A L K A B O U T C O L L E C T I B L E S.      I T T A L K S A B O U T T O K E N S.         IT

 9        T A L K S A B O U T A C O M M O D I T Y.      I T T A L K S A B O U T A M A R K E T, A N D T H I S I S

10        W H A T Y O U S E N T T O D A Y.

11                      THEN AFTER THE DOCUMENT IS SENT, I'LL GIVE YOU YOU SENT

12        A N O T H E R P A G E T H A T H A S A N I M A G E O F S T E P H C U R R Y, B U T T H E Y H A D

13        C O N T A C T E D M R . C U R R Y B E F O R E H A N D.

14                      M R . R I C H A R D S O N:    AND THEN IF YOU ALSO LOOK ON PAGE 6 OF

15        THE EXCHANGES -- AND AGAIN I WOULD LIKE TO REITERATE THAT THE

16        C O M M O D I T I Z A T I O N H A S M U L T I P L E C O M P O N E N T S, S O T H E C O M M O D I T I Z A T I O N

17        IN TERMS OF DIGITAL COLLECTIBLES IT ALLOWS CELEBRITIES AND

18        ATHLETES AND OTHER ENTERTAINERS TO WORK WITH STARCOIN TO

19        D E V E L O P A U N I Q U E D I G I T A L C O L L E C T I B L E, A C R Y P T O C O L L E C T I B L E.

20                      T H E C O U R T:     S H O W M E W H E R E T H A T' S I N H E R E.          IT'S NOT IN

21        HERE, SIR.

22                      M R . R I C H A R D S O N:    T H A T ' S W H A T C O M M O D I T I Z A T I O N M E A N S,

23        Y O U R H O N O R.

24                      T H E C O U R T:     H O W W O U L D O N E K N O W T H A T?

25                      M R . R I C H A R D S O N:    W E L L , A X I O M Z E N W O R K S I N T H I S S P H E R E.




                                                                                                                          17
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 1        S T A R C O I N W O R K S I N T H I S S P H E R E.    IT WAS KNOWN BETWEEN THE

 2        P A R T I E S W H A T T H E Y W E R E D I S C U S S I N G.

 3                     T H E C O U R T:     I DON'T THINK THE DISCUSSIONS WENT VERY

 4        FAR.      OKAY.       S O Y O U T H I N K T H I S E M B O D I E S A T R A D E S E C R E T.     YOU

 5        T H I N K T H A T W H E N Y O U T A L K A B O U T A T O K E N, A N D C O M M O D I T I Z A T I O N

 6        U S I N G T O K E N S, T H A T T H A T R E P R E S E N T S A C O L L E C T I B L E.

 7                     M R . R I C H A R D S O N:   A G A I N, Y O U R H O N O R, S T A R C O I N H A S P U T

 8        T H E T O K E N A S P E C T K I N D O F O N T H E B A C K B U R N E R.

 9                     T H E C O U R T:     HOW WOULD I KNOW THAT?                  YOU'RE TELLING ME

10        T H A T T O D A Y.

11                     M R . R I C H A R D S O N:   YES.       W E D I D N' T R E A L L Y D I S C U S S T H E

12        T O K E N A S P E C T I N O U R B R I E F I N G.     WE WERE DISCUSSING THE

13        CRYPTOCOLLECTIBLE ASPECT OF IT.                         WE'RE NOT ARGUING ABOUT --

14                     T H E C O U R T:     NOWHERE DO YOU DEFINE WHAT COMMODITIZATION

15        MEANS TO YOU.            NOWHERE DO YOU SAY THAT IT COULD BE A TOKEN OR

16        IT COULD BE -- HOW WOULD ANYBODY HAVE KNOWN THAT, SIR?                                        MAYBE

17        T H E Y K N E W I T , I D O N ' T K N O W , I H A V E N' T T A L K E D T O T H E M Y E T .

18                     M R . R I C H A R D S O N:   W E L L , T H A T' S O U R A R G U M E N T, Y O U R H O N O R,

19        I S T H A T T H E P A R T I E S K N E W W H A T T H E Y W E R E D I S C U S S I N G.

20                     AND ONE THING I WOULD LIKE TO TOUCH ON, WHILE WE

21        B E L I E V E T H A T T H I S I S A P R O T E C T A B L E T R A D E S E C R E T, I F I N Y O U R

22        O P I N I O N Y O U D O N O T T H I N K I T ' S A T R A D E S E C R E T, A N D Y O U D O N O T

23        T H I N K T H A T W E C O U L D P R O C E E D O N T H E M E R I T S O F T H A T, W E T H I N K W E

24        HAVE A VERY STRONG CASE IN TERMS OF LEARNING SOMETHING WITH A

25        MUTUAL NON-DISCLOSURE AGREEMENT BECAUSE THERE WAS NO




                                                                                                                18
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 1        CONFIDENTIAL INFORMATION THAT WAS SENT.

 2                      T H E C O U R T:      L E T ' S S L O W D O W N F O R A M I N U T E.     SO BASICALLY

 3        Y O U D I D W H A T Y O U C O U L D W I T H M Y F I R S T Q U E S T I O N.        I UNDERSTAND

 4        Y O U R A N S W E R T O T H E E X T E N T I R E C E I V E D A N A N S W E R, T O B E H O N E S T.

 5                      M Y N E X T Q U E S T I O N I S , H O W - - W E L L , Y O U R B U S I N E S S M O D E L,

 6        IN MY VIEW, LOOKING AT THIS, IS DIFFERENT -- WHAT YOU DISCLOSED

 7        I N T H I S S L I D E D E C K I S D I F F E R E N T, I T I S N O T T H E S A M E A S

 8        D E F E N D A N T' S B U S I N E S S M O D E L.   THEY'RE DOING DIGITAL COLLECTIBLES

 9        L I C E N S I N G C E L E B R I T I E S.

10                      M R . R I C H A R D S O N:    N O T R E A L L Y, Y O U R H O N O R, T H E Y W E R E

11        D O I N G J U S T C R Y P T O K I T T I E S, N O T L I C E N S E W I T H C E L E B R I T I E S, A N D N O T

12        UNTIL AFTER THEY RECEIVED OUR CONFIDENTIAL INFORMATION DID THEY

13        T H E N W O R K W I T H S T E P H A N C U R R Y T O C R E A T E T H E C U R R Y K I T T Y.

14                      T H E C O U R T:      THEY STARTED THAT BEFORE YOU EVER CONTACTED

15        THEM.

16                      M R . R I C H A R D S O N:    W E R E V I E W E D T H E M A T E R I A L S, Y O U R H O N O R,

17        A N D W E ' R E S T I L L - - I T S T I L L S E E M S L I K E A V E R Y O D D C O I N C I D E N C E.

18                      T H E C O U R T:      I S N ' T I T T R U E, S I R , T H A T L I C E N S I N G

19        C E L E B R I T I E S I N A B L O C K C H A I N I N D U S T R Y I S S O M E T H I N G T H A T' S

20        G E N E R A L L Y K N O W N, I T ' S N O T A T R A D E S E C R E T?

21                      M R . R I C H A R D S O N:    W E L L , A G A I N, Y O U R H O N O R, E V E N I F I T ' S

22        N O T A T R A D E S E C R E T, T H E R E W A S S T I L L A N M N D A S I G N E D, A N D , Y O U

23        K N O W , T H E P A R T I E S S T I L L H A D A D U T Y O F G O O D F A I T H T O E A C H O T H E R,

24        SO IF AXIOM ZEN IN THEIR MIND BELIEVED THAT WHAT THEY RECEIVED

25        W A S N O T C O N F I D E N T I A L I N F O R M A T I O N, W H Y D I D T H E Y N O T L E T M R .




                                                                                                                  19
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 1        F E I N B L A T T K N O W , A F T E R T H E Y R E C E I V E D I T , " O H , Y E A H, W E ' V E B E E N

 2        WORKING ON THIS.                  T H A N K S A N Y W A Y" ?   WHY DID THEY GO COMPLETELY

 3        D A R K O N H I M , N E V E R R E A C H A G A I N O U T R E G A R D I N G T H E C O L L A B O R A T I O N,

 4        AND AFTER ONLY -- AFTER MR. FEINBLATT REPEATEDLY REACHED OUT TO

 5        T H E M , A S K I N G T H E M , " W H A T' S G O I N G O N ?        ARE WE GOING TO WORK

 6        T O G E T H E R, " T H E Y S A I D , " O H , W E ' R E A L I T T L E B U S Y .        WE CAN'T WORK

 7        UNTIL JUNE OF THIS YEAR," AND THEN SHORTLY THEREAFTER THEY

 8        R E L E A S E D T H E C U R R Y K I T T Y, W H I C H W A S S H O C K I N G F O R U S .

 9                      T H E C O U R T:       I'M GOING TO MOVE ON BECAUSE I WANT TO HEAR

10        FROM THEM ON THIS, BUT YOU AND THE COURT AT LEAST NOW, AND THIS

11        I S A L L T E N T A T I V E, W E ' R E J U S T T A L K I N G L I K E A P P L E S A N D O R A N G E S.

12        I M E A N , H O W C A N Y O U S A Y T H A T T H E R E' S I R R E P A R A B L E H A R M ?          YOU

13        H A V E N O E V I D E N C E O F L O S S O F G O O D W I L L, C U S T O M E R S O R A N Y T H I N G O F

14        T H E S O R T , S O H O W C O U L D Y O U P O S S I B L Y Q U A N T I F Y I R R E P A R A B L E H A R M?

15                      M R . R I C H A R D S O N:      WELL, WE DO HAVE A --

16                      T H E C O U R T:       L E T M E A D D T H I S, C O U N S E L, A N D T H E N Y O U C A N

17        ANSWER IT.

18                      M R . R I C H A R D S O N:      SURE.

19                      T H E C O U R T:       TWO VENTURE CAPITALISTS YOU CITE WERE

20        P L A N N I N G O N S I G N I N G A N D N O W T H E Y' V E S I G N E D W I T H D E F E N D A N T.

21        T H A T ' S B U S I N E S S.      T H E Y H A D A L R E A D Y C O N T A C T E D A X I O M.   T H A T' S

22        B U S I N E S S, S I R .       I M E A N, I D O N ' T K N O W H O W Y O U C A N S A Y T H A T' S

23        I R R E P A R A B L E I N J U R Y.     S O G O A H E A D, C O N V I N C E M E .

24                      M R . R I C H A R D S O N:      I T ' S B U S I N E S S, B U T I T ' S O U R C L I E N T' S

25        SWORN TESTIMONY THAT THE ONLY REASON THAT THIS BUSINESS TOOK




                                                                                                                      20
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 1        PLACE WAS BECAUSE CRYPTOKITTIES WAS THE FIRST TO MARKET FOR

 2        T H I S T Y P E O F C E L E B R I T Y L I C E N S E D D I G I T A L C O M M O D I T Y.       THE

 3        IRREPARABLE HARM THAT OUR CLIENT SUFFERED WAS NOT BEING THE

 4        F I R S T T O M A R K E T.       THEY FOREVER LOST THAT ABILITY TO BE THE

 5        F I R S T T O M A R K E T.

 6                      NOW AS CURRYKITTIES HAS BEEN PULLED AND DIDN'T REALLY

 7        G A I N A L O T O F M A R K E T T R A C T I O N, T H A T W E ' R E A W A R E O F , A N

 8        INJUNCTION ALLOWING US TO PROCEED WITH OUR BUSINESS MODEL

 9        C O U L D, I N F A C T , A L L O W S T A R C O I N T O R E G A I N T H A T P O S I T I O N A S A N

10        I N D U S T R Y L E A D E R, A N I N D U S T R Y I N N O V A T O R.

11                      T H E C O U R T:      Y O U B R O U G H T U P T H E I N J U N C T I O N.       WHAT IS THE

12        SCOPE OF WHAT YOU'RE REQUESTING THIS COURT DO, SIR?

13                      M R . R I C H A R D S O N:     Y O U R H O N O R, W E ' R E N O T T R Y I N G T O

14        O V E R R E A C H.   W E W O U L D L I K E A V E R Y N A R R O W L Y T A I L O R E D I N J U N C T I O N.

15                      T H E C O U R T:      TELL ME.

16                      M R . R I C H A R D S O N:     A L L S T A R C O I N I S A S K I N G I S T H A T, F I R S T,

17        THAT AXIOM EITHER RETURNS OR DESTROYS THE CONFIDENTIAL

18        INFORMATION THAT WAS SENT TO THEM, AND IS PRECLUDED FROM USING

19        THE CONFIDENTIAL INFORMATION UNTIL THIS CASE --

20                      T H E C O U R T:      W H A T C O N F I D E N T I A L I N F O R M A T I O N?

21                      M R . R I C H A R D S O N:     ALL THE MATERIALS THAT WERE SENT TO

22        THEM.

23                      T H E C O U R T:      THIS, THE SLIDE DECK?

24                      M R . R I C H A R D S O N:     YES, THE SLIDE DECK AND THE EMAIL

25        C O R R E S P O N D E N C E S, Y E S .




                                                                                                                  21
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 1                      A N D S E C O N D, S T A R C O I N R E Q U E S T S A N O R D E R P R E V E N T I N G A X I O M

 2        FROM FURTHER IMPLEMENTING THE STARCOIN BUSINESS MODEL FOR THEIR

 3        O W N B E N E F I T.     T H A T ' S A L L W E ' R E A S K I N G, Y O U R H O N O R.

 4                      T H E C O U R T:      W H A T I S T H A T B U S I N E S S M O D E L?        I DON'T

 5        UNDERSTAND WHAT IT IS.                      YOU TOLD ME IT'S NOT FROM WHAT I

 6        UNDERSTOOD FROM THE SLIDE DECK.                            YOU SAID SO MUCH MORE IS

 7        C O N T A I N E D I N T H E C O N C E P T O F T H E T O K E N O R C O M M O D I T I Z A T I O N, S O

 8        WHAT DO YOU THINK YOU'RE ASKING THEM NOT TO DO?

 9                      M R . R I C H A R D S O N:      I ACTUALLY CONTEND THAT IT'S LESS

10        B R O A D, Y O U R H O N O R, T H A T W E ' R E J U S T A S K I N G T H A T A X I O M I S N O T

11        A L L O W E D T O P A R T N E R A N D L I C E N S E T H E I R C R Y P T O K I T T I E S, T H E I R

12        C R Y P T O C O L L E C T I B L E S W I T H C E L E B R I T I E S, A T H L E T E S A N D E N T E R T A I N E R S

13        B E C A U S E T H E Y G O T T H A T I D E A F R O M O U R C L I E N T.

14                      T H E C O U R T:      W E L L , C O U N S E L, T H A T ' S Q U I T E A S T R E T C H, S I R .

15        I MEAN, I DON'T KNOW THAT LICENSING WITH CELEBRITIES ON

16        ANYTHING CAN BE A TRADE SECRET BECAUSE EVERYBODY DOES IT.                                                 MR.

17        C U R R Y I S O U T T H E R E E V E R Y W H E R E.       H O W C A N Y O U S A Y T H A T?          IT JUST

18        -- OKAY, THAT'S FINE.                      T H A T ' S Y O U R V I E W O F T H I N G S, A N D L E T M E

19        HEAR FROM THEM.               I ' M J U S T C O N C E R N E D.

20                      M R . R I C H A R D S O N:      M A Y I A D D O N E M O R E T H I N G, Y O U R H O N O R.

21                      T H E C O U R T:      SURE.

22                      M R . R I C H A R D S O N:      YOU ARE CORRECT ABSOLUTELY IN THAT

23        U S I N G C E L E B R I T Y L I K E N E S S E S I S I N H E R E N T T O M A N Y I N D U S T R I E S.

24                      T H E C O U R T:      T O O T H P A S T E, T E N N I S S H O E S, C R Y P T O K I T T I E S.

25                      M R . R I C H A R D S O N:      SURE.      A B S O L U T E L Y.    BUT I WILL POINT




                                                                                                                         22
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 1        OUT THAT THE MAIN DIFFERENCE IS THAT IT WAS NOT USED IN

 2        C R Y P T O C O L L E C T I B L E S U N T I L T H E C U R R Y K I T T Y.    NOW, IN THE PAPERS

 3        DEFENDANTS INTRODUCED EVIDENCE OF A COMPANY CALLED

 4        CRYPTOCELEBRITIES AND CONTEND THAT THEY WERE ACTUALLY THE FIRST

 5        O N E S T O U S E T H I S B U S I N E S S M O D E L, B U T A S W E D I D O U R O W N R E S E A R C H

 6        I N T O T H I S C O M P A N Y C R Y P T O C E L E B R I T I E S, I T B E C A M E C L E A R T H A T T H E Y

 7        N E V E R A C T U A L L Y P A R T N E R E D W I T H C E L E B R I T I E S, I T W A S B A S I C A L L Y

 8        LIKE A -- THEY WERE BASICALLY USING THESE CELEBRITY LIKENESSES

 9        WITHOUT ANY LICENSES TO DO SO.

10                       T H E C O U R T:     LET'S SUPPOSE YOU'RE RIGHT ON THIS FOR A

11        M O M E N T.    DOES IT MAKE ANY DIFFERENCE TO YOU THAT DAPPER LABS

12        W A S T H E O N E T H A T R E L E A S E D T H E C R Y P T O C U R R Y?

13                       M R . R I C H A R D S O N:      I D O N ' T T H I N K S O , Y O U R H O N O R.

14                       T H E C O U R T:     I T ' S N O T A N E N T I T Y T H A T' S B E F O R E M E .

15                       M R . R I C H A R D S O N:      WELL, FIRST OF ALL, THE MNDA WAS

16        S I G N E D B E T W E E N A X I O M A N D S T A R C O I N, A N D S O W E H A D N E V E R H E A R D O F

17        D A P P E R L A B S U N T I L D E F E N D A N T F I L E D I T S P A P E R S.      SO AS FAR AS WE

18        K N E W , W E W E R E O N L Y D O I N G B U S I N E S S W I T H A X I O M.

19                       T H E C O U R T:     Y O U W E R E N' T D O I N G B U S I N E S S W I T H T H E M, Y O U

20        S E N T T H E M S O M E S T U F F.          Y O U D I D N' T D O B U S I N E S S W I T H T H E M.

21                       M R . R I C H A R D S O N:      WE WERE ATTEMPTING TO WORK ON A

22        C O L L A B O R A T I O N.

23                       T H E C O U R T:     Y O U W A N T E D T O D O B U S I N E S S W I T H T H E M.

24                       M R . R I C H A R D S O N:      SURE.      A B S O L U T E L Y.

25                       T H E C O U R T:     OKAY.




                                                                                                                    23
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 1                      M R . R I C H A R D S O N:    AND I GUESS ADDRESSING YOUR POINT

 2        ABOUT DAPPER LABS --

 3                      T H E C O U R T:     LET'S SUPPOSE I AGREED WITH YOU ON

 4        E V E R Y T H I N G A N D S A I D, " O K A Y , I ' M G O I N G T O I S S U E T H I S O R D E R, " A R E

 5        T H E Y T H E R I G H T P E O P L E T O I S S U E T H E O R D E R A G A I N S T, A X I O M?          I

 6        DON'T THINK SO.

 7                      M R . R I C H A R D S O N:    AXIOM SIGNED THE MUTUAL NON-DISCLOSURE

 8        A G R E E M E N T, W H O A R E W E D O I N G B U S I N E S S W I T H - - A T T E M P T I N G T O D O

 9        B U S I N E S S W I T H , S O R R Y, I F I T W A S N O T A X I O M?         THEY NEVER INFORMED

10        US THAT IT WAS ACTUALLY DAPPER LABS THAT CRYPTOKITTIES WERE

11        U N D E R.    A N D I F Y O U L O O K A T A L L O F T H E P R E S S R E L E A S E S, I T ' S

12        A L W A Y S A X I O M Z E N ' S C R Y P T O K I T T I E S.   T H E R E I S N E V E R D A P P E R L A B S.

13                      T H E C O U R T:     FINAL POINT BEFORE I HAVE SOME QUESTIONS

14        F O R D E F E N D A N T I S T H I S:       I S N ' T A L L T H I S M O O T S I N C E C R Y P T O C U R R Y' S

15        B E E N P U L L E D?    C R Y P T O C U R R Y' S N O T U P T H E R E A N Y M O R E, I S I T ?

16                      M R . R I C H A R D S O N:    NO, IT'S NOT.

17                      T H E C O U R T:     WHOEVER DIDN'T HAVE THE AUTHORITY TO GIVE

18        M R . C U R R Y' S I M A G E.

19                      M R . R I C H A R D S O N:    W E L L , T H A T' S W H A T D E F E N D A N T S S A Y , A N D

20        W E ' R E A B I T S K E P T I C A L T H A T T H A T W A S T H E E X A C T R E A S O N.         IT

21        DIDN'T --

22                      T H E C O U R T:     W E ' R E N O T G O I N G T O S P E C U L A T E.     I M E A N,

23        C R Y P T O C U R R Y I S N ' T U P A N Y M O R E, F O R W H A T E V E R R E A S O N.     DOES THAT

24        M O O T T H I S R E Q U E S T?

25                      M R . R I C H A R D S O N:    N O , Y O U R H O N O R, I T D O E S N O T M O O T T H I S




                                                                                                                    24
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 1        REQUEST BECAUSE AXIOM IS STILL FREE TO PARTNER WITH STEPHAN

 2        CURRY OR ANOTHER ATHLETE OR CELEBRITY IN THE FUTURE UNLESS

 3        THEY'RE ENJOINED FROM DOING SO.

 4                       T H E C O U R T:     SO YOU'RE ASKING THIS COURT TO ENJOIN THEM

 5        F R O M A N Y L I C E N S I N G A G R E E M E N T S W I T H A N Y A N D A L L C E L E B R I T I E S,

 6        E N T E R T A I N E R S, S P O R T S F I G U R E S, A S B R O A D A T E R M A S P O S S I B L E,

 7        T H A T ' S W H A T Y O U ' R E A S K I N G.

 8                       M R . R I C H A R D S O N:   WELL, I WOULD SAY THAT IT'S NOT THAT

 9        B R O A D.

10                       T H E C O U R T:     TELL ME WHAT IT IS.

11                       M R . R I C H A R D S O N:   I T ' S W H A T Y O U S A I D, B U T I W O U L D

12        C O N T E N D T H A T T H A T ' S N O T T H A T B R O A D.        IT'S ASKING THEM TO CARRY

13        O N T H E I R B U S I N E S S A S U S U A L.       THEY HAD NO CELEBRITY PARTNERSHIPS

14        B E F O R E.

15                       T H E C O U R T:     THEY WERE LOOKING INTO IT BEFORE YOU CAME

16        A L O N G, A N D N O W Y O U ' R E S A Y I N G T H E Y C A N ' T D O T H A T A N Y M O R E.           I

17        J U S T W A N T E D T O S E E W H A T Y O U ' R E A S K I N G.        YOU'RE SAYING NO

18        C E L E B R I T I E S, N O A T H L E T E S, N O P U B L I C F I G U R E S, W H O E V E R Y O U M I G H T

19        WANT TO LICENSE WITH.

20                       M R . R I C H A R D S O N:   C E L E B R I T I E S, A T H L E T E S, E N T E R T A I N E R S,

21        M U S I C I A N S.

22                       T H E C O U R T:     M U S I C I A N S, O K A Y.    I JUST WANTED TO

23        UNDERSTAND THAT.                  WHY DON'T YOU HAVE A SEAT, SIR, THANK YOU SO

24        MUCH.

25                       M R . R I C H A R D S O N:   T H A N K Y O U , Y O U R H O N O R.




                                                                                                                         25
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 1                      T H E C O U R T:     H O W D O Y O U R E S P O N D, C O U N S E L, T O P L A I N T I F F' S

 2        ARGUMENT THAT NONE OF THE EVIDENCE YOU SUBMITTED EXPLICITLY

 3        D I S C L O S E S " L I C E N S I N G" C E L E B R I T I E S, B U T I N S T E A D U S E S P H R A S E S

 4        S U C H A S " R E L A T I O N S H I P S" O R " A C T I O N A B L E P L A N S" O R " A S S O C I A T I N G"

 5        W I T H A X I O M?

 6                      M R . G E R S H E N S O N:   S U R E , Y O U R H O N O R.      I M E A N , F R A N K L Y,

 7        T H E T R A D E S E C R E T H A S A L W A Y S B E E N A S H A P E S H I F T E R.         TO THE

 8        E X T E N T T H A T W E U N D E R S T A N D I T I N T H E I R R E P L Y, W E ' R E A L L O W E D T O

 9        A S S O C I A T E W I T H A L L O F T H E S E E N T I T I E S, C E L E B R I T I E S, S T A R S, A N D

10        T H E L I K E , W E ' R E S O M E H O W N O T A L L O W E D T O L I C E N S E, W H I C H I T H I N K

11        MEANS WE'RE NOT ALLOWED TO PAY THEM.

12                      N O W , I ' M C O N F U S E D.     OUR BUSINESS MODEL AND REACHING OUT

13        TO THESE PEOPLE IS -- SURE, WE DESCRIBE IT AS A PARTNERSHIP AND

14        THE LIKE, YOU KNOW, CHARMAINE CROOKS HAPPENS TO BE CONNECTED TO

15        T H E C O M P A N Y, S O T H A T M A Y B E A S E P A R A T E C A S E , B U T O F C O U R S E I F

16        Y O U ' R E L I C E N S I N G S O M E O N E' S L I K E N E S S O R Y O U ' R E P A R T N E R I N G W I T H

17        T H E M T O U S E T H E I R L I K E N E S S, Y O U P A Y T H E M .         T H A T ' S A L I C E N S E.

18        W E S A I D , " T H A T ' S E X A C T L Y H O W W E D O O U R B U S I N E S S. "

19                      T H E C O U R T:     S O I T ' S A D I S T I N C T I O N W I T H O U T A D I F F E R E N C E.

20                      M R . G E R S H E N S O N:   I T I S , Y O U R H O N O R.

21                      T H E C O U R T:     I F Y O U " A S S O C I A T E, " Y O U ' R E B A S I C A L L Y I N A

22        L I C E N S I N G S I T U A T I O N O R Y O U ' R E P A Y I N G T H E M.

23                      M R . G E R S H E N S O N:   C O R R E C T, O R Y O U ' R E O P E R A T I N G

24        U N L I C E N S E D, W H I C H I S N O T W H A T W E D O A N D N O T W H A T W E W A N T T O D O .

25                      T H E C O U R T:     R I G H T.    DOES DAPPER LABS HAVE THE RIGHTS TO




                                                                                                                       26
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 1        T H E C R Y P T O K I T T I E S?   I W A S N ' T R E A L L Y C L E A R O N D A P P E R L A B S.

 2                      M R . G E R S H E N S O N:   SURE.        SO MY UNDERSTANDING -- AND IF I

 3        M I S S P E A K, P L E A S E C O R R E C T M E .    MY UNDERSTANDING IS THAT DAPPER

 4        L A B S W A S A S E P A R A T E E N T I T Y, S P U N O F F .       IT ALLOWED FOR 20

 5        EMPLOYEES TO GO FROM AXIOM TO DAPPER LABS AND THE INTELLECTUAL

 6        P R O P E R T Y W A S T R A N S F E R R E D T O D A P P E R L A B S, S O D A P P E R L A B S, T H A T

 7        E N T I T Y, C O N T R O L S T H E C R Y P T O K I T T I E S.    I JUST DON'T WANT TO

 8        M I S S T A T E A N Y T H I N G.

 9                      M R . K R A U S E:    IF I MAY.

10                      T H E C O U R T:     COME OVER HERE AND USE THE MICROPHONE SO WE

11        C A N A L L H E A R Y O U C L E A R L Y, S I R .        T E L L U S Y O U R N A M E, A G A I N.

12                      M R . K R A U S:     S T E V E K R A U S E.       SO DAPPER LABS WAS SPUN OFF

13        A T T H E T I M E O F T H E I N V E S T M E N T, R I G H T?        SO THE INVESTMENT WAS

14        M A D E , A N D A S P A R T O F T H E I N V E S T M E N T D A P P E R L A B S W A S C R E A T E D.

15        THE MAJORITY OWNER OR AT LEAST A VERY LARGE PORTION IS OWNED BY

16        L A U N C H L A B S , A X I O M Z E N , B U T A S A D A M M E N T I O N E D, W E - - A B U N C H O F

17        T H E E M P L O Y E E S W E R E M O V E D O V E R T O D A P P E R L A B S, A L L O F T H E

18        TECHNOLOGY REGARDING TO THE BLOCKCHAIN WORK AND THE

19        C R Y P T O K I T T I E S' W O R K W A S M O V E D O V E R T O D A P P E R L A B S.

20                      T H E C O U R T:     THANK YOU, SIR.

21                      S O J U M P I N G A H E A D, J U S T B A S E D O N W H A T H E J U S T S A I D, W H A T

22        G E N E R A L C O U N S E L J U S T S A I D , I N Y O U R V I E W, W E D O N ' T H A V E T H E

23        RIGHT ENTITY HERE.

24                      M R . G E R S H E N S O N:   T H A T ' S A B S O L U T E L Y T R U E , Y O U R H O N O R.

25                      T H E C O U R T:     E V E N I F T H E C O U R T W E R E T O E N T E R T A I N T H I S,




                                                                                                                    27
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 1        W H I C H Y O U ' V E H E A R D I H A V E S O M E V E R Y S E R I O U S C O N C E R N S A B O U T, B U T

 2        I F I W E R E T O E N T E R T A I N I T , I D O N ' T H A V E T H E R I G H T E N T I T Y H E R E.

 3                      M R . G E R S H E N S O N:     C O R R E C T.   EVEN IF YOU WERE TO

 4        ENTERTAIN IT, AND WE'VE NOT FOUND ANY NINTH CIRCUIT CASE WHERE

 5        AN INJUNCTION GOES AGAINST A PARENT AND SOMEHOW ISN'T WORST

 6        AGAINST EITHER A SUB OR SOME COMPANY --

 7                      T H E C O U R T:      THEY'RE MAD AT YOU BECAUSE THEY SAID YOU

 8        W E R E T H E O N E S W H O B R E A C H E D T H E I R N O N - D I S C L O S U R E.

 9                      M R . G E R S H E N S O N:     SO A FEW FACTS ON THAT; NUMBER ONE, WE

10        D I D N ' T B R E A C H T H E N O N - D I S C L O S U R E.    IF YOU LOOK AT IT, IT SAYS

11        T H E R E' S C O N F I D E N T I A L I N F O R M A T I O N.   IT CAN'T BE USED FOR

12        A N Y T H I N G O T H E R T H A N T H E D E F I N E D S U B J E C T M A T T E R, A N D T H E N T H E

13        SUBJECT MATTER IS DEFINED AS AXIOM ZEN, WHO THEY'RE NOW SAYING

14        I S U S I N G I N F O R M A T I O N.

15                      NUMBER TWO, THIS PI WAS BROUGHT STRICTLY ON THE TRADE

16        S E C R E T C L A I M.    THERE IS NOTHING BEFORE YOU ON THE CONTRACT

17        C L A I M, Y O U R H O N O R, I N T E R M S - -

18                      T H E C O U R T:      THAT'S TRUE, TOO.               YOU HEARD MY QUESTIONS

19        T O P L A I N T I F F.    I T W A S M Y U N D E R S T A N D I N G, B A S E D O N W H A T I H A V E,

20        T H A T T H E T R A D E S E C R E T W A S I N T H I S D O C U M E N T, A N D T H A T T H E T R A D E

21        S E C R E T C A M E F O R W A R D, A N D T H E N T H I S L A S T P A G E W A S S E N T

22        S U B S E Q U E N T L Y T O A X I O M.

23                      M R . G E R S H E N S O N:     C O R R E C T, Y O U R H O N O R.

24                      T H E C O U R T:      WHAT DID YOU THINK -- I KNOW YOU DON'T

25        T H I N K T H E R E W A S A T R A D E S E C R E T, B U T A S S U M I N G T H E R E I S , W H A T I S




                                                                                                                 28
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 1        I T T H A T Y O U U N D E R S T A N D - - H A V E I M I S U N D E R S T O O D A L L O F T H I S?

 2                       M R . G E R S H E N S O N:    F R A N K L Y, I A S K E D T H E V E R Y S A M E

 3        Q U E S T I O N T O O P P O S I N G C O U N S E L, " A T T H I S P O I N T W H A T I S Y O U R T R A D E

 4        S E C R E T? " A N D I D O N ' T K N O W .        IT'S DEFINITELY NOT IN THAT

 5        D O C U M E N T T H O U G H.      THAT DOCUMENT NEVER MENTIONS DIGITAL

 6        C O L L E C T I B L E S.

 7                       T H E C O U R T:     DOES COMMODITIZATION MEAN SOMETHING THAT I

 8        DON'T KNOW?

 9                       M R . G E R S H E N S O N:    OUR UNDERSTANDING OF THE PLAIN READING

10        O F T H A T D O C U M E N T, W H I C H T H E D E C L A R A T I O N S H O W S W A S C O N F U S I N G,

11        WAS SIMPLY THINGS LIKE IT SAID YOU COULD INVEST IN THE

12        E N T E R T A I NE R , A N D Y O U M A K E M O N E Y O F F T H E P O P U L A R I T Y, O F T H E R I S E

13        A N D F A L L O F T H A T E N T E R T A I N E R.

14                       I ' M L O O K I N G A T T H E I R P A G E 5 5 I T ' S L A B E L E D.     I ACTUALLY

15        H A V E A H A N D - U P , I F I M A Y A P P R O A C H.

16                       T H E C O U R T:     C E R T A I N L Y.

17                       M R . G E R S H E N S O N:    T H A N K Y O U , Y O U R H O N O R.   WE NEVER SAW

18        A N Y T H I N G H E R E A B O U T D I G I T A L C O L L E C T I B L E S.

19                       T H E C O U R T:     BUT DOES SOMEHOW COMMODITIZATION AND THE

20        TOKEN CONCEPT MEAN -- BECAUSE NOW I'M HEARING A MUCH BROADER

21        CONCEPT FROM WHAT I UNDERSTOOD FROM THE SLIDE DECK.

22                       M R . G E R S H E N S O N:    IT DIDN'T MEAN THAT TO ANYONE AT AXIOM

23        ZEN.       I T D O E S N' T M E A N T H A T T O T H E T H R E E P E O P L E W H O L O O K E D A T I T

24        AND SAID IT WAS CONFUSING AND A DEAD END, AND NEVER DISCUSSED

25        I T A G A I N, A N D N E V E R T O O K A N Y A C T I O N O N I T , A N D N E V E R U S E D I T ,




                                                                                                                  29
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 1        P E R T H E D E C L A R A T I O N S O F M S . R E B A K, A N D L E A O A N D C O P E.

 2                       I T D O E S S A Y - - W H E N I T H I N K O F C O M M O D I T I Z A T I O N, I F

 3        WE'RE LOOKING AT PAGE 55, IT SAYS, "THE PEOPLE -- LET'S SEE,

 4        " I N R E T U R N - - M E A N I N G T H E L A S T S E N T E N C E, " I N R E T U R N T H E Y, T H E Y,

 5        I G U E S S, M A D E S O M E P R O F I T F R O M T H E I R S U C C E S S. "          AND AS FAR AS I

 6        C A N T E L L C O M M O D I T I Z A T I O N I S , I G U E S S, I B U Y A C O I N F O R B R I T N E Y

 7        S P E A R S.       W H E N S H E G E T S H E R V E G A S G I G , I T G O E S U P I N V A L U E.           IF

 8        S H E H A S A N E R V O U S B R E A K D O W N, I T G O E S D O W N I N V A L U E.

 9                       T H E C O U R T:      I F S T E P H C U R R Y' S T E A M W I N S T H E

10        C H A M P I O N S H I P, T H E N S T E P H C U R R Y' S C O I N G O E S U P .        W E L L, M A Y B E

11        T H A T ' S A B A D E X A M P L E.          Y E A H , I F T H E E N T E R T A I N E R D O E S W E L L, M Y

12        COINS ARE WORTH MORE.                       AND THROUGH THEIR MARKETPLACE I COULD

13        T R A D E, S E L L , S O M E H O W N E G O T I A T E T H E M , I F I W A N T E D T O .

14                       M R . G E R S H E N S O N:      C O R R E C T.   A N D B Y C O N T R A S T, T H E R E W A S

15        A N A R T I C L E W H E R E M A C K F L A V E L L E, T H E C R E A T O R O F C R Y P T O K I T T Y,

16        S A I D " N O T C R Y P T O C U R R E N C Y, C R Y P T O K I T T I E S.    THEY'RE TOTALLY

17        D I F F E R E N T. "      AND SO FOR OURS THE VALUE COMES FROM ATTRIBUTES OR

18        C A T T R I B U T E S, A S T H E Y ' R E C A L L E D, A N D B R E E D I N G, A N D F I N D I N G

19        R A R I T I E S.       I T H A S N O T H I N G T O D O W I T H M R . C U R R Y' S C A R E E R O N E W A Y

20        O R T H E O T H E R O R M S . S P E A R S F O R T H A T M A T T E R.

21                       T H E C O U R T:      SO IF YOU HAD -- THIS ISN'T TERRIBLY

22        R E L E V A N T, B U T I F Y O U H A D C R Y P T O K I T T I E S, Y O U R C R Y P T O K I T T I E S

23        C O U L D H A V E C R Y P T O K I T T I E S?

24                       M R . G E R S H E N S O N:      A H U N D R E D P E R C E N T, Y O U R H O N O R.

25                       T H E C O U R T:      T H E Y C O U L D, A N D T H E A T T R I B U T E S T H A T T H E Y




                                                                                                                       30
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 1        GET IS DETERMINED BY SOME POTENTIALLY TRADE SECRET PROGRAM THAT

 2        YOU HAVE THAT DOES THAT.

 3                         M R . G E R S H E N S O N:   AN ALGORITHM OF 256-BIT OF --

 4                         T H E C O U R T:     L E T M E A S K Y O U T H I S , C O U N S E L, W A S T H E R E

 5        MORE YOU WANTED TO SAY OR SHOULD WE MOVE ON?

 6                         M R . G E R S H E N S O N:   I ' M H A P P Y T O A D D R E S S Y O U R Q U E S T I O N S.

 7                         T H E C O U R T:     LET ME JUST ASK YOU A COUPLE MORE

 8        Q U E S T I O N S, A N D T H E N I ' M G O I N G T O S A V E E N O U G H T I M E F O R P E O P L E T O

 9        R E S P O N D.

10                         M R . G E R S H E N S O N:   YES.

11                         T H E C O U R T:     ASSUMING FOR THE MOMENT THAT PLAINTIFF HAS

12        A PROTECTABLE TRADE SECRET AND THAT YOU MISAPPROPRIATE IN SOME

13        FORM -- MISAPPROPRIATED IT IN SOME WAY, HAVE YOU HARMED

14        PLAINTIFF BY GIVING THE SECRET TO DAPPER AND DAPPER HAVING

15        PUBLICLY RELEASED IT?

16                         M R . G E R S H E N S O N:   SO OBVIOUSLY WE DON'T AGREE WITH THE

17        O R I G I N A L P R E M I S E.

18                         T H E C O U R T:     I UNDERSTAND THAT.

19                         M R . G E R S H E N S O N:   T O B E C L E A R, N O , T H E R E' S N O

20        IRREPARABLE HARM.                   T H I S I S A C O M P A N Y T H A T I S N O T I N B U S I N E S S.

21        I T H I N K T H E L I N D E B O O M C A S E T H A T W E C I T E D I S P R E T T Y U S E F U L.

22        THERE IT WAS ABOUT AN EDITING STUDIO THAT DIDN'T HAVE A STUDIO

23        U P S O T H E R E W A S N O C H A N C E O F L O S I N G G O O D W I L L.          HERE WE CALLED

24        T H E M O U T S P E C I F I C A L L Y I N T H E O P P O S I T I O N A N D W E S A I D, " W H E R E A R E

25        THE INVESTORS YOU'VE LOST?                        W H E R E A R E T H E C U S T O M E R S?    WHERE ARE




                                                                                                                       31
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 1        T H E C E L E B R I T I E S? "      W E G O T T H E I R R E P L Y, T H E R E W A S N O T H I N G.

 2        T H E R E W A S N O E V I D E N C E.

 3                       THIS IS AN EVIDENTIARY ISSUE ON A PRELIMINARY

 4        I N J U N C T I O N.    T H E Y H A V E A H I G H B U R D E N T O M E E T.          T H E Y D I D N' T C O M E

 5        C L O S E.     T H E Y T H R E W I N O N E C O M M E N T F R O M O N E I N V E S T O R W H O S A I D,

 6        " O T H E R I N V E S T O R S W E R E N' T I N T E R E S T E D B E C A U S E O F T H I S. "      THEY

 7        SAID THAT INVESTORS EXPLICITLY SAID THEY WENT TO US INSTEAD OF

 8        T H E M B E C A U S E O F T H I S G R E A T I D E A.            WE'VE SEEN ZERO EVIDENCE OF

 9        T H A T , N O T A N E M A I L, N O T E V E N A N I N T E R N A L E M A I L S A Y I N G, " W E L O S T

10        S O A N D S O B E C A U S E W E G A V E O U R I D E A A W A Y. "              N O T H I N G T O T H A T.     SO

11        THAT'S NUMBER ONE.

12                       T H E Y ' R E N O T R E A L L Y I N B U S I N E S S.        W E C O U L D N' T F I N D T H E M

13        A S A C A L I F O R N I A C O R P O R A T I O N, S O W H O I S T H E G O O D W I L L E V E N G O I N G

14        TO?      S O N O P A R T N E R S.        N O G O O D W I L L.     N O T I N B U S I N E S S.    EVEN IF

15        T H E Y W E R E I N B U S I N E S S, T H E Y ' R E I N A D I F F E R E N T B U S I N E S S.

16                       S O T H E L U C A S F I L M E N T E R T A I N M E N T C A S E I S O N P O I N T T H E R E.

17        THERE WAS A QUESTION ABOUT A LITTLE KID'S EDUCATION GAME ON ONE

18        H A N D A S O P P O S E D T O A 1 2 A N D O V E R V I D E O G A M E O N T H E O T H E R.                   AND

19        T H E C O U R T S A I D , " N O , T H E R E' S N O I R R E P A R A B L E H A R M H E R E .         YOU'RE

20        N O T C O M P E T I N G, " A N D T H A T' S T H E S A M E .             THEY WANT CELEBRITY

21        C R Y P T O C U R R E N C Y.     W E H A V E C O L L E C T I B L E S.     NEVER THE TWAIN SHALL

22        MEET.        S O T H E R E W A S N O I R R E P A R A B L E H A R M, Y O U R H O N O R.

23                       T H E C O U R T:       YOU'RE CONTENDING THAT IRREPARABLE HARM IS

24        SPECULATIVE AND THE PARTIES OPERATE IN DIFFERENT SEGMENTS OF

25        T H E M A R K E T.




                                                                                                                       32
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 1                      M R . G E R S H E N S O N:      C O R R E C T, Y O U R H O N O R.

 2                      T H E C O U R T:     A N D Y O U C I T E M E T O C O P Y R I G H T, T R A D E M A R K,

 3        P A T E N T C A S E S F O R T H A T P R O P O S I T I O N.      SHOULD I EXTEND THAT

 4        R E A S O N I N G T O T H E T R A D E S E C R E T A R E A?

 5                      M R . G E R S H E N S O N:      I T H I N K S O , Y O U R H O N O R.      IF ANYTHING

 6        THE COPYRIGHT AREA IS HARDER FOR US BECAUSE IRREPARABLE HARM IS

 7        I S P R E S U M E D U N L E S S T H E Y ' R E N O T C O M P E T I N G.      T H E R E' S N O S U C H

 8        P R E S U M P T I O N T H A T W E H A V E T O O V E RC O M E I N T H E T R A D E S E C R E T S P A C E.

 9        S O T H A T ' S T H E A N S W E R T O T H A T Q U E S T I O N, Y O U R H O N O R.

10                      T H E C O U R T:     D I D N ' T T H E H A R M A C T U A L I Z E O N C E T H E S E C R E T' S

11        D I S C L O S E D?

12                      M R . G E R S H E N S O N:      S O L E T ' S T A K E A L O O K A T T H A T.

13                      T H E C O U R T:     R E G A R D L E S S O F W H A T I N D U S T R Y.

14                      M R . G E R S H E N S O N:      U N D E R S T O O D, Y O U R H O N O R.   SO LET'S TALK

15        A B O U T T H E D I S C L O S U R E.       S O I F W E C O U L D L O O K A T T A B A , P L E A S E,

16        AND LET'S LOOK AT SOME OF THE PUBLIC EXAMPLES WHERE THE

17        P U R P O R T E D T R A D E S E C R E T W A S D I S C L O S E D P R I O R T O A N Y O F T H I S.

18                      T H E V E R Y F I R S T D O C U M E N T T H E R E, T H E E X H I B I T 1 2 , I S F R O M

19        J A N U A R Y 1 0 T H , 2 0 1 8 , " T O K E N I Z I N G T H E E C O N O M Y, S P O R T S I N D U S T R Y. "

20        THIS IS DEAD ON TO WHAT THEY CLAIM THEY SENT US.                                        THAT GOES ON

21        T O T A L K A B O U T T H E B L O C K C H A I N T E C H N O L O G Y.      IT STARTS TALKING AT

22        T H E B O T T O M T H E R E A B O U T C E R T A I N I N D I V I D U A L S, A N D I T G O E S O N T O

23        T A L K A B O U T S P E C I F I C A T H L E T E S.      S O I N T E R M S O F D I S C L O S U R E, T H I S

24        W A S A L L D I S C L O S E D B E F O R E S T A R C O I N E V E R C A M E O N T H E S C E N E.

25                      I F Y O U C O N T I N U E F L I P P I N G A H E A D, W E H A V E T H E T O K E N S T A R S




                                                                                                                    33
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 1        W E B P A G E R I G H T I N T H E M I D D L E T H E R E.           THIS IS BASED ON AN AUGUST

 2        2 0 1 7 W H I T E P A P E R, " T O K E N I Z E D C E L E B R I T I E S, A T H L E T E S, A C T O R S,

 3        R O C K B A N D S, A N Y O N E. "         S O I F T H E D I S C L O S U R E O C C U R R E D, I T

 4        O C C U R R E D W E L L B E F O R E A N Y O F T H I S.

 5                       ON THE NEXT PAGE IN THAT SAME TAB YOU'VE GOT A COMPANY

 6        USING STARCOIN TV.                     T H E Y E V E N H A V E T H E S A M E E X A C T N A M E.    I

 7        S H O U L D S A Y , W H E N W E T A L K E D A B O U T T H E T W O D I F F E R E N T B U S I N E S S E S,

 8        W H A T ' S T H E B U S I N E S S?        C O I N S.   T H E Y D O C O I N S.    T H E Y D O $ 5 B I L L S.

 9        WE DO PIECES OF ART.                      I T ' S J U S T A M E D I U M, C U R R E N C Y A N D

10        C O L L E C T I B L E S.

11                       A N D T H E N F I N A L L Y - - N O T F I N A L L Y B U T N E X T T O F I N A L L Y,

12        P E N U L T I M A T E L Y, E X H I B I T 2 3 , I T S A Y S, " E M A I L W E T A L K E D A B O U T F O R

13        C R Y P T O C E L E B R I T I E S. "    THIS IS AGAIN -- THE FINAL EMAIL IS MAY,

14        B U T T H E C H A I N S T A R T S I N J A N U A R Y O F 2 0 1 8, A N D I T ' S A L L A B O U T

15        T H I S O T H E R C R Y P T O E N T I T Y D I S C L O S I N G T H E U S E O F C E L E B R I T I E S.

16                       F I N A L L Y, T H E L A S T D O C U M E N T I N T A B A , U N D E R T H E S U B J E C T

17        O F D I S C L O S U R E, W E G O T T H I S W E B S I T E F R O M M R . F E I N B L A T T' S

18        L I N K E D- I N P R O F I L E.        IT WAS MENTIONED SO WE WENT TO LOOK AT IT.

19        I M E A N , H E R E I T I S T H E P U R P O R T E D T R A D E S E C R E T, O R A T L E A S T S O M E

20        GREAT CHUNK OF IT, HE HAS PUT --

21                       T H E C O U R T:        W H E R E A R E Y O U , C O U N S E L?

22                       M R . G E R S H E N S O N:      I A P O L O G I Z E, Y O U R H O N O R, L A S T E X H I B I T

23        I N T A B A , A N D I T ' S T R A D E S T A R.

24                       T H E C O U R T:        OKAY.      THANK YOU.

25                       M R . G E R S H E N S O N:      LOOK, THIS MAY BE JUST A MOCK-UP THAT




                                                                                                                     34
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 1        H E ' S P U T T H E R E, B U T I T ' S P R E T T Y D A R N C L O S E T O W H A T H E C L A I M S I S

 2        HIS TRADE SECRET AND YET THERE IT IS AGAIN ON THE INTERNET FOR

 3        ALL TO SEE.            S O T H E R E' S N O H A R M F R O M O U R A L L E G E D D I S C L O S U R E.

 4        WE NEVER EVEN USED THEIR IDEA OR ANYTHING LIKE IT.

 5                      F R A N K L Y, E V E N I F T H E R E W E R E H A R M F R O M T H A T , E V E N I F

 6        T H I S W E R E A T R A D E S E C R E T, W E D I D I T A L L F I R S T, A N D T H A T' S W H A T

 7        TAB B IS VERY CLEAR ON.                        IT'S APPENDIX A.              IT'S THE

 8        C R Y P T O K I T T I E S' T I M E L I N E.      I T S T A R T S I N O C T O B E R, A L T H O U G H T H E

 9        DECLARATION FROM MACK FLAVELLE INDICATES THEY ALREADY HAD THE

10        I D E A T O B E W I T H C E L E B R I T I E S I N A U G U S T O R S E P T E M B E R O F 2 0 1 7.

11        AND THEN THERE IN AUGUST WE'RE REACHING OUT TO CHARMAINE

12        C R O O K S, O L Y M P I C A T H L E T E.        T H E N T H E R E' S T H E A R T I C L E T H A T Y O U R

13        HONOR MENTIONED IN HER TENTATIVE RULING WHERE WE SAY WE'RE THE

14        F L A G B E A R E R F O R A S S O C I A T I N G C E L E B R I T I E S W I T H C R Y P T O K I T T I E S.    AS

15        W E L O O K E D A T T H E T I M E L I N E, W E ' V E G O T I N T H A T S A M E P E R I O D M A C K

16        FLAVELLE PUBLICLY TWEETING -- AND THIS WAS ALL STUFF THEY COULD

17        H A V E F O U N D B E F O R E S U I N G U S F R A N K L Y.         AND IT'S TWEETING

18        C E L E B R I T I E S A B O U T C R E A T I N G K I T T I E S I N T H E I R L I K E N E S S, W H I C H Y O U

19        W O U L D H A V E T O L I C E N S E.          W E L A U N C H O U R P R O D U C T.   AND THEN IN

20        D E C E M B E R, T H R E E M O N T H S B E F O R E W E H E A R A N Y T H I N G, T H E L A

21        C L I P P E R S.   THAT'S THE NBA.                  THE NBA THAT STEPH CURRY COMES

22        FROM.       Y O U S A I D I T ' S A S U R P R I S I N G C O I N C I D E N C E.       W E L L, W E ' R E I N

23        V A N C O U V E R, R I G H T?     S T E P H C U R R Y I S I N T H E B A Y A R E A.          HE'S THE

24        M O S T P O P U L A R, M O S T T E L E G E N I C A T H L E T E I N T H A T A R E A.         I DON'T

25        THINK IT'S SUCH A COINCIDENCE THAT WE WOULD USE HIM.




                                                                                                                      35
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 1        M E A N W H I L E, T H E D O C U M E N T T H E Y S E N T U S A L S O H A S T H E R O C K, A N D

 2        J U S T I N B I E B E R, A N D A N Y O N E E L S E .        SO IT REALLY IS -- COINCIDENCE

 3        IS A FAIR WORD, BUT AS YOU SEE RIGHT HERE IN JANUARY WE WERE

 4        H A V I N G T H E D I S C U S S I O N S S E E K I N G T H A T V E R Y S A M E P A R T N E R S H I P.   SO

 5        IT'S ONLY AT THE VERY END OF THIS THAT STARCOIN COMES ON THE

 6        S C E N E, S E N D S U S A P O W E R P O I N T.

 7                      N O W , W E C A N C O M P A R E A N D C O N T R A S T T H A T, S O W E ' R E T A L K I N G

 8        A B O U T H A R M , A N D T H E B A L A N C E O F H A R M S, A N D W H O W A S T H E F I R S T T O

 9        M A R K E T, I F W E F L I P , P L E A S E, Y O U R H O N O R, T O T A B C , A N D T H A T

10        SHOULD HAVE THEIR POWERPOINT THAT YOU POINTED --

11                      T H E C O U R T:     THE SLIDE DECK.

12                      M R . G E R S H E N S O N:   C O R R E C T.     LET'S LOOK AT THEIR ROADMAP

13        A N D C O M P A R E A N D C O N T R A S T W H O I S F I R S T T O M A R K E T.         IT SAYS --

14        E X H I B I T 9 , P A G E 6 1 , I T S A Y S I N T H E L O W E R R I G H T- H A N D C O R N E R,

15        " R O A D M A P. "

16                      T H E C O U R T:     I ' M G E T T I N G T H E R E.

17                      M R . G E R S H E N S O N:   TAKE YOUR TIME.               U N D E R S T O O D.

18                      T H E C O U R T:     OKAY, I'M ON 61.

19                      M R . G E R S H E N S O N:   T H E R E' S T H E R O A D M A P, A N D T H E R E Y O U

20        H A V E J A N U A R Y 2 0 1 8 T H E Y G E T T H E I R S E E D G R A N T.        THIS IS MONTHS

21        A F T E R W E ' V E A L R E A D Y L A U N C H E D O U R P R O D U C T.    THEN THEY SAY, IN

22        F E B R U A R Y O F 2 0 1 8 , T H E Y' R E G O I N G T O B E G I N O N B O A R DI N G T H E F I R S T

23        T E N E N T E R T A I NE R S .   NOW, WE HAVE NO IDEA IF ANY OF THAT

24        H A P P E N E D, W H E R E T H E Y S T A N D.     BUT YOU TALK ABOUT FIRST TO

25        M A R K E T, T H E Y ' R E T A L K I N G J U N E 2 0 1 8 , T H A T' S T O D A Y, T H A T T H E Y' R E




                                                                                                                  36
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 1        GOING TO PERFORM BETA TESTS AND LAUNCH PREP.                                  THEY CAN'T BE

 2        F I R S T T O M A R K E T A N D T H E R E C A N ' T B E H A R M.       I HOPE THAT ANSWERS

 3        Y O U R Q U E S T I O N.

 4                     T H E C O U R T:     I T D O E S , C O U N S E L.   THANK YOU.           WE DON'T

 5        HAVE A LOT OF TIME LEFT, BUT I KNOW THIS IS IMPORTANT TO BOTH

 6        S I D E S, S O I ' M C E R T A I N L Y W I L L I N G T O G I V E - -

 7                     ALEX, WE'RE STILL EXPECTING THEM AT 2:30?

 8        ( D I S C U S S I O N H E L D O F F T H E R E C O R D. )

 9                     T H E C O U R T:     I'M STILL EXPECTING MY 2:30, BUT

10        F O R T U I T O U S L Y F O R B O T H S I D E S, M Y C L E R K T E L L S M E I T ' S L I K E L Y T O

11        B E A C O N T I N U A N C E, S O I K N O W P E O P L E W O U L D L I K E M O R E T I M E.      LET

12        M E A S K Y O U T H I S , W O U L D Y O U L I K E M E T O T A K E A S H O R T F I V E,

13        1 0 - M I N U T E B R E A K A N D T H E N I ' L L C O M E B A C K?     I'LL GIVE EACH

14        SIDE -- SINCE THE NEXT MATTER IS GOING TO BE A CONTINUANCE --

15        15 MINUTES EACH TO TELL ME WHATEVER YOU WOULD LIKE TO TELL ME,

16        T H E N I ' L L T A K E T H I S M A T T E R U N D E R S U B M I S S I O N.

17                     THE ONE QUESTION I'LL HAVE FOR EACH SIDE IS DOES THE

18        O R D E R G O U N D E R S E A L O R C A N T H E O R D E R B E P U T O U T T H E R E?        I THINK

19        THE ORDER NEEDS TO BE PUT OUT THERE BECAUSE THERE HAS BEEN --

20        THERE HAVE BEEN THINGS OUT THERE THAT SAY I ALREADY ISSUED THIS

21        O R D E R, W H I C H I S K I N D O F D I S H E A R T E N I N G T O T H E C O U R T.    I DON'T

22        KNOW HOW THAT CAME TO PASS, BUT IT DID, SO I THINK WHATEVER

23        H A P P E N S N E E D S T O B E O U T T H E R E.

24                     M R . G E R S H E N S O N:   W E A G R E E, Y O U R H O N O R.     IF THE RECESS

25        AND THAT PLAN WORKS FOR YOU, WE'RE HAPPY TO DO WHATEVER WORKS




                                                                                                                 37
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 1        F O R T H E C O U R T.

 2                     T H E C O U R T:     I ' L L G I V E Y O U 1 5 M I N U T E S, A N D I ' L L G I V E

 3        T H E M 1 5 M I N U T E S.

 4                     M R . L O B B I N:    T H A T' S A G R E E A B L E, Y O U R H O N O R, T H A N K Y O U .

 5                     T H E C O U R T:     THANK YOU.

 6                     M R . G E R S H E N S O N:   THANK YOU.

 7        ( C O U R T W A S A T R E C E S S. )

 8                     T H E C L E R K:     R E C A L L I N G N U M B E R O N E O N T H E C A L E N D A R,

 9        18-CV-972, FOUNDER STARCOIN VS. LAUNCH LABS.

10                     O K A Y , M R . R I C H A R D S O N, C O M E B A C K T O T H E P O D I U M, S I R .

11        I'M GOING TO TRY TO DO MY VERY BEST NOT TO INTERRUPT YOU OR

12        P E P P E R Y O U W I T H Q U E S T I O N S.     YOU'VE HEARD MY QUESTIONS TO BOTH

13        S I D E S, A N D A G A I N P E R S U A D E M E O T H E R W I S E, S I R .

14                     M R . R I C H A R D S O N:   SURE.        T H A N K Y O U , Y O U R H O N O R.

15                     T H E C O U R T:     Y O U ' R E W E L C O M E.

16                     M R . R I C H A R D S O N:   A G A I N, F E E L F R E E I F Y O U H A V E A N Y M O R E

17        Q U E S T I O N S T O A S K , E I T H E R W A Y I S F I N E O B V I O U S L Y.

18                     SO TO ADDRESS SOME OF THE POINTS THAT WERE BROUGHT UP

19        D U R I N G D E F E N D A N T' S R E S P O N S E - - W E L L , A C T U A L L Y, F I R S T, I W A N T T O

20        DIRECT YOU TO EXHIBIT A, OUR EXHIBIT A, THE EMAIL CHAIN BETWEEN

21        M R . F E I N B L A T T A N D M S . R E B A K.

22                     T H E C O U R T:     I D O N ' T H A V E A L L T H E E X H I B I T S U P H E R E.     I

23        J U S T H A V E S O M E O F T H E E X H I B I T S.      J U S T G O A H E A D, S I R .

24                     M R . R I C H A R D S O N:   OKAY.        SO I'M SPECIFICALLY REFERRING

25        T O A N E M A I L C H A I N, A S I S A I D , B E T W E E N M R . F E I N B L A T T A N D M S .




                                                                                                                  38
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 1        REBAK DATED FEBRUARY 9TH, 2018, AND THIS IS AFTER THE MNDA WAS

 2        S I G N E D A N D A F T E R T H E O R I G I N A L S L I D E D E C K W A S S E N T.

 3                       T H E C O U R T:     OKAY.

 4                       M R . R I C H A R D S O N:   S O M R . F E I N B L A T T S A Y S T O M S . R E B A K,

 5        "WE WOULD LIKE TO COLLABORATE WITH AXIOM ZEN ON IDEATION AND

 6        D E V E L O P M E N T.   WE ARE THINKING OF STARTING WITH RELEASING

 7        D I G I T A L C O N T E N T F R O M E N T E R T A I NE R S F I R S T A N D T H E N C R E A TI N G T H E

 8        O W N E R S H I P A N D S P E C U L A T I V E T O K E N A S P E C T L A T E R. "   SO THIS TIES

 9        INTO WHAT I WAS SAYING ORIGINALLY IN THAT AT THIS POINT IN

10        FEBRUARY STARCOIN HAD PUT THE SPECULATIVE TOKEN ASPECT TO THE

11        SIDE AND WAS MORE FOCUSED ON THE DIGITAL COLLECTIBLES THAT IT

12        IS STILL FOCUSED ON.

13                       T H E C O U R T:     I W A N T Y O U T O R E A D T H I S A G A I N.       S L O W D O W N.

14                       M R . R I C H A R D S O N:   "WE WOULD LIKE TO COLLABORATE WITH

15        A X I O M Z E N O N I D E A T I O N A N D D E V E L O P M E N T.     WE ARE THINKING OF

16        STARTING WITH RELEASING DIGITAL CONTENT FROM ENTERTAINERS

17        F I R S T, T H E N C R E A T I N G T H E O W N E R S H I P A N D S P E C U L A T I V E T O K E N A S P E C T

18        L A T E R. "    HE THEN GOES ON TO SAY, "WE CURRENTLY HAVE AND ARE

19        FORMING MANY EXCITING PARTNERSHIPS TO ACCELERATE GROWTH

20        R E G A R D I N G O N B O A R D I N G E N T E R T A I N E R S. "

21                       T H E C O U R T:     AND THE DATE OF THIS IS THEN FEBRUARY THE

22        9TH, 2018?

23                       M R . R I C H A R D S O N:   Y E S , Y O U R H O N O R.

24                       T H E C O U R T:     THANK YOU.

25                       M R . R I C H A R D S O N:   YES.       AND THEN TO ADDRESS THE -- ALSO




                                                                                                                    39
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 1        THE POINT OF THE SLIDE DECK NOT CONTAINING DIGITAL COLLECTIBLE

 2        I T E M S, I F I C A N D I R E C T Y O U R A T T E N T I O N T O A G A I N T H E " E X C H A N G E S"

 3        P A G E - - O R T H E " B U S I N E S S M O D E L" P A G E R A T H E R U N D E R " E X C H A N G E, "

 4        IT SAYS, "WE TAKE A TRANSACTION FEE FROM TRADING TOKENS AND

 5        D I G I T A L C O N T E N T O N O U R E X C H A N G E, " S O I T ' S D I G I T A L C O N T E N T - -

 6        T H E R E' S O N L Y T W O T Y P E S O F E T H E R E U M B L O C K C H A I N I T E M S, T H E R E' S

 7        F U N G I B L E C O N T E N T, W H I C H I S T H E A C T U A L C U R R E N C Y, A N D T H E R E' S

 8        N O N - F U N G I B L E, W H I C H I S T H E D I G I T A L C O N T E N T.     SO WE DO

 9        SPECIFICALLY ADDRESS IN THE SLIDE DECK THE DIGITAL CONTENT

10        R E L A T E D T O E N T E R T A I N E R S A S P E C T.

11                         AND THEN ALSO, AND THIS IS IN THE SLIDE DECK, AS WELL

12        A S T H E E M A I L C H A I N, T H E M O C K - U P O F T H E U S E R I N T E R F A C E T H A T' S

13        B A C K I N T H E E M A I L S I N E X H I B I T A , W I T H T H E S T E P H C U R R Y P I C T U R E,

14        I T S A Y S U N D E R " S T E P H C U R R Y T R A D I N G C A R D" A N D T H E N G I V E S I T A

15        D O L L A R A M O U N T.       SO IT WAS VERY CLEAR TO MS. REBAK -- IT SHOULD

16        H A V E B E E N V E R Y C L E A R T O M S . R E B A K, I N H E R D I S C U S S I O N S W I T H M R .

17        F E I N B L A T T, T H A T S T A R C O I N W A S T A L K I N G A B O U T D E V E L O P I N G D I G I T A L

18        C O N T E N T.      THAT'S WHAT OUR BUSINESS MODEL WAS FOCUSING ON.

19        T H A T ' S W H A T W E T A L K E D T O A X I O M Z E N A B O U T, A N D T H A T ' S W H A T W E ' R E

20        F O C U S I N G O N I N T H I S C A S E.       WE'RE NOT CONCERNED WITH THE DIGITAL

21        C U R R E N C Y A S P E C T.

22                         M O V I N G O N F R O M T H E R E, A G A I N I W A N T T O T O U C H B R I E F L Y O N

23        THE DAPPER LABS/AXIOM ZEN ISSUE JUST TO TIE THAT UP.                                          WE STILL

24        C O N T E N D T H A T W E N E V E R H A D A N Y I N T E R A C T I O N S W I T H D A P P E R L A B S.

25                         T H E C O U R T:   I W A S N' T E V E R S U G G E S T I N G T H A T Y O U D I D .      I




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 1        W A S J U S T S U G G E S T I N G T H A T T H E Y' R E N O T H E R E A N D T H A T T H E Y' R E T H E

 2        O N E S W H O H A V E C R Y P T O K I T T I E S, A N D D I D T H E S T E P H C U R R Y, A N D

 3        P U L L E D T H A T B A C K A N D E V E R Y T H I N G.       I WASN'T SAYING THAT YOU EVER

 4        H A D A N Y T H I N G.       A N D A X I O M S I G N E D Y O U R D I S C L O S U R E A G R E E M E N T, I

 5        U N D E R S T A N D.

 6                      M R . R I C H A R D S O N:      R I G H T.   AND THAT'S ONE OF THE MAIN

 7        ISSUES HERE, ALONG WITH THE TRADE SECRET MISAPPROPRIATION

 8        I S S U E, I S T H E C O N F I D E N T I A L I N F O R M A T I O N - - T H E B R E A C H O F T H E

 9        MNDA BY DISCLOSING --

10                      T H E C O U R T:       T H A T ' S N O T B E F O R E T H E C O U R T T O D A Y.

11                      M R . R I C H A R D S O N:      I T I S W H A T' S B E F O R E U S T O D A Y.          T H E Y' R E

12        V E R Y R E L A T E D I S S U E S, W H E R E A S, I F T H I S C O U R T U L T I M A T E L Y

13        D E T E R M I N E S T H A T I T ' S N O T A T R A D E S E C R E T, I T C A N S T I L L B E

14        C O N F I D E N T I A L, P R O P R I E T A R Y I N F O R M A T I O N B E C A U S E I T W A S N ' T

15        P U B L I C L Y K N O W N.      AND IF IT WAS DISCLOSED IN VIOLATION OF THE

16        MNDA, IT'S STILL A BREACH OF THE MNDA AND AXIOM SHOULD BE

17        ENJOINED FROM FURTHER DISCLOSURE AND SHOULD HAVE TO RETURN OR

18        DESTROY THE INFORMATION THAT WAS GIVEN TO THEM.

19                      I ALSO WOULD LIKE TO TOUCH ON THE -- ONE OF THE

20        ARGUMENTS RAISED BY AXIOM ZEN IN ITS PAPERS IS THAT THEY WERE

21        B A S I C A L L Y J U S T E N T E R T A I N I N G M R . F E I N B L A T T, " B E I N G P O L I T E" W A S

22        THE WORD THAT THEY USED.                       WE DON'T REALLY UNDERSTAND THAT

23        ARGUMENT OF BEING POLITE BECAUSE IF THEY WERE JUST BEING

24        P O L I T E, W H Y D I D T H E Y C E A S E B E I N G P O L I T E O N C E T H E Y R E C E I V E D T H E

25        S T A R C O I N I N F O R M A T I O N A N D G O C O M P L E T E L Y D A R K O N M R . F E I N B L A T T?




                                                                                                                        41
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 1        WHY DID AXIOM ZEN INSIST ON USING ITS OWN MNDA RATHER THAN JUST

 2        S I G N I N G S T A R C O I N' S ?     WHY WOULD A COMPANY WITH AS MUCH SUCCESS

 3        AND MARKET TRACTION AS AXIOM CLAIMED TO HAVE --

 4                       T H E C O U R T R E P O R T E R:      S L O W D O W N.

 5                       M R . R I C H A R D S O N:     -- A POTENTIAL COMPETITOR JUST TO BE

 6        P O L I T E?    P E R H A P S M O S T I M P O R T A N T L Y, W H Y D I D N ' T A X I O M R E S P O N D T O

 7        M R . F E I N B L A T T B Y S I M P L Y S A Y I N G, " W E A L R E A D Y H A V E T H I S

 8        I N F O R M A T I O N.      T H I S I S N O T C O N F I D E N T I A L.   WE WERE WORKING ON THE

 9        SAME IDEA.               W E H A V E B E E N. "    T H E Y S A Y T H A T T H E Y W E R E.      THEY

10        P O I N T T O T W E E T S F R O M A N E M P L O Y E E, M A C K F L A V E L L E, T H A T T H E Y D I D

11        R E A C H O U T T O E N T E R T A I N E R S, B U T I D O N ' T T H I N K A T W E E T - - A

12        COUPLE TWEETS AMOUNT TO A FULL-ON BUSINESS PLAN, BUSINESS AND

13        MARKETING PLAN.

14                       I T H I N K, S U R E , P E R H A P S - - O B V I O U S L Y T H E Y A D D R E S S E D I T

15        IN PASSING OR THEY THREW IT AROUND A LITTLE BIT, BUT THEY DID

16        NOT GO INTO THE SAME DEPTH OF CREATING AN ENTIRE BUSINESS

17        CENTER AROUND THAT.                    T H E I R B U S I N E S S W A S C R Y P T O K I T T I E S, A N D T H I S

18        CURRYKITTY WAS A SIDE PROJECT THAT WE THINK THEY GOT THE IDEA

19        FROM US.

20                       S O I N C L O S I N G, I W O U L D J U S T L I K E T O R E I T E R A T E W H A T

21        W E ' R E A S K I N G F O R I N T E R M S O F T H E I N J U N C T I O N.

22                       T H E C O U R T:       SURE.

23                       M R . R I C H A R D S O N:     F I R S T, W E W O U L D A S K T H A T A X I O M B E

24        E N J O I N E D F R O M F U R T H E R M I S A P P R O P R I A T I O N O R U S E O F S T A R C O I N' S

25        TRADE SECRETS AND/OR CONFIDENTIAL BUSINESS INFORMATION IF THIS




                                                                                                                      42
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 1        C O U R T D E T E R M I N E S T H E R E A R E T R A D E S E C R E T S.

 2                     T H E C O U R T:     SEE, WHAT WE COME BACK TO IS I STILL DON'T

 3        UNDERSTAND WHAT YOUR TRADE SECRET IS.                             K E E P G O I N G.

 4                     M R . R I C H A R D S O N:   A L L R I G H T.     AND THEN WITHIN SEVEN DAYS

 5        - - E X C U S E M E , W I T H I N S E V E N D A Y S O F T H E O R D E R, A X I O M S H O U L D

 6        RETURN ALL DOCUMENTS AND OTHER MATERIALS RECEIVED FROM STARCOIN

 7        P U R S U A N T T O T H E M N D A , R E T U R N O R D E S T R O Y, A N D G I V E C O N F I R M A T I O N

 8        OF THE DESTRUCTION IF THAT'S THE CASE.

 9                     T H E C O U R T:     DO YOU THINK -- WHEN WE'RE FINISHED THIS

10        A F T E R N O O N, I ' M G O I N G T O T A K E T H I S M A T T E R U N D E R S U B M I S S I O N.   I'M

11        GOING TO GO BACK THROUGH EVERYTHING THAT I HAVE AND CONSIDER

12        A L L O F T H E A R G U M E N T S B E C A U S E I W O U L D N' T H A V E W A S T E D M Y T I M E,

13        Y O U R T I M E , O P P O S I N G C O U N S E L' S T I M E, I F I W E R E N' T W I L L I N G T O

14        CONSIDER IT.

15                     M Y O R D E R C A N B E A P U B L I C O R D E R, C A N ' T I T , C O U N S E L?

16                     M R . R I C H A R D S O N:   I THINK SO, YES, IT CAN BE A PUBLIC

17        O R D E R.

18                     T H E C O U R T:     OKAY.       AND WE SHOULD NOTE NOBODY HAS BEEN

19        IN HERE THIS AFTERNOON EXCEPT THOSE OF US THAT HAVE BEEN PRIVY

20        T O T H I S H E A R I N G.      THANK YOU.

21                     M R . R I C H A R D S O N:   BEFORE I STEP DOWN AND GIVE THE PODIUM

22        T O T H E D E F E N D A N T, I S T H E R E A N Y O T H E R C O M M E N T O R Q U E S T I O N S A B O U T

23        M E S I M P L Y T A L K I N G - - Y O U D O N ' T T H I N K T H A T T H E R E' S A T R A D E

24        SECRET --

25                     T H E C O U R T:     I SAID I DON'T KNOW WHAT YOU THINK YOUR




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 1        TRADE SECRET IS.                  IS YOUR TRADE SECRET DIGITIZED CELEBRITY

 2        C O L L E C T I B L E S?

 3                       M R . R I C H A R D S O N:    Y E S , P R E C I S E L Y, Y E S .

 4                       T H E C O U R T:     IF THAT'S WHAT IT IS, SHOW ME WHERE IT IS

 5        B E C A U S E I T ' S N O T H E R E.        I L O O K E D I T U P O N T H E B R E A K, A N D

 6        COMMODITIZATION OF AN ENTERTAINER DOES NOT MEAN WHAT YOU'RE

 7        S A Y I N G I T M E A N S, C O U N S E L, A N D - - E V E R Y B O D Y I N T H I S R O O M I S A S

 8        SMART AS THE OTHER PERSON IN THIS ROOM, AND THAT'S NOT WHAT IT

 9        I S , S I R , A N D I ' M S A Y I N G T H A T W I T H A L L K I N D N E S S A N D R E S P E C T,

10        SIR, BUT I DON'T SEE IT.                       S O H E L P M E B E C A U S E T H A T' S N O T W H A T

11        THIS SAYS.

12                       TO ME -- WHAT I UNDERSTOOD THIS TO BE, AND I READ THIS

13        M A N Y T I M E S, A N D R E A D T H E P A P E R S, I F I W A N T E D T O I N V E S T I N A N

14        ENTERTAINER -- PICK ONE, I DON'T KNOW -- I COULD GO TO A

15        M A R K E T P L A C E A N D I C O U L D B U Y S O M E T H I N G T H A T R E P R E S E N T E D S H A R E S,

16        I F Y O U W I L L , T O K E N S, I D O N ' T C A R E W H A T Y O U C A L L T H E M, A N D I F

17        T H A T S T A R D I D G R E A T, I ' D G E T S O M E B E N E F I T.          MAYBE I COULD

18        NEGOTIATE WITH THOSE WITH OTHER PEOPLE WHO MIGHT WANT TO BUY

19        T H E M , A N D I M I G H T M A K E S O M E M O N E Y, A N D I K N O W Y O U W O U L D T A K E - -

20        THE WAY I UNDERSTAND IT, YOUR COMPANY THAT YOU REPRESENT WOULD

21        T A K E A P E R C E N T A G E, A N D T H E C E L E B R I T Y W I N S, A N D I W O U L D W I N , A N D

22        E V E R Y B O D Y W O U L D W I N , B U T T H A T' S W H A T I T W A S T H E W A Y I

23        U N D E R S T O O D I T , A N D T H A T ' S W H A T I G O T F R O M T H E P A P E R W O R K, S O I

24        D I D N ' T S E E T H E C O L L E C T I B L E C E L E B R I T Y I N T H E D I G I T I Z E D F O R M.

25                       M R . R I C H A R D S O N:    W E L L , T H A T' S P A R T O F T H E S L I D E D E C K.




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 1        A D M I T T E D L Y, T H A T ' S P A R T O F T H E S L I D E D E C K.      H O W E V E R, A N D I

 2        TOUCH ON THIS A BIT, IF YOU LOOK AT PAGE 6 OF THE SLIDE DECK

 3        U N D E R " B U S I N E S S M O D E L" A N D T H E N " E X C H A N G E" I T S A Y S , " W E T A K E - -

 4                     T H E C O U R T:     LET ME GET TO PAGE 6.

 5                     M R . R I C H A R D S O N:   U N D E R " E X C H A N G E" O N T H E R I G H T- H A N D

 6        SIDE, IT SAYS, "WE TAKE A TRANSACTION FEE FROM TRADING TOKENS

 7        A N D D I G I T A L C O N T E N T O N O U R E X C H A N G E.    I N D I V I D U A L S, E N T E R T A I N E R S

 8        AND BUSINESSES CAN ACTIVELY TRADE OR HAVE THE PLATFORM DO THE

 9        TRADING FOR YOU," SO WE DO TALK ABOUT DIGITAL CONTENT IN THE

10        SLIDE DECK.

11                     A N D T H E N A L S O I N T H E E M A I L S, L I K E I S A I D, T H E D I G I T A L

12        C O N T E N T F O R E N T E R T A I N E R S W A S D I S C U S S E D W I T H M S . R E B A K, A N D T H E N

13        A L S O T H E M O C K - U P O F T H E U S E R I N T E R F A C E, W H I C H I S I N T H E S L I D E

14        D E C K A N D I N T H E E M A I L S, W I T H T H E A F O R E M E N T I O N E D S T E P H A N C U R R Y

15        TRADING CARD MOCK-UP.

16                     T H E C O U R T:     THANK YOU.          I T W A S V E R Y H E L P F U L.       I

17        APPRECIATE IT.

18                     M R . R I C H A R D S O N:   T H A N K Y O U , Y O U R H O N O R.

19                     T H E C O U R T:     S O , C O U N S E L, I T R Y N O T T O A S K Q U E S T I O N S,

20        B U T N O W I ' M G O I N G T O A S K A Q U E S T I O N, A N D T H E N Y O U C A N G O O F F

21        AND TELL ME ANYTHING YOU WANT TO TELL ME.                                COUNSEL TELLS ME THE

22        REFERENCE TO DIGITAL CONTENT -- TRADING TOKENS AND DIGITAL

23        C O N T E N T I S S U F F I C I E N T T O T E L L S O M E B O D Y, Y O U O R M E , I G U E S S,

24        THAT THAT MEANS A COLLECTIBLE IN THE SAME CONCEPT THAT YOU DO.

25        COMMENT ON THAT.




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 1                      M R . G E R S H E N S O N:    IT DIDN'T TELL ANYONE WHO RECEIVED IT

 2        T H A T T H E Y W E R E T A L K I N G A B O U T C O L L E C T I B L E S.   I T D I D N' T T E L L M E .

 3        I D O N ' T B E L I E V E I T W O U L D T E L L T H E R E A S O N A B L E O B S E R V E R.      DIGITAL

 4        C O N T E N T T O M E C O U L D B E , F R A N K L Y, A N Y T H I N G.      I DON'T SEE DIGITAL

 5        C O L L E C T I B L E S H E R E A N Y W H E R E.   IN THEIR PAPERS THEY START TO SAY

 6        I T ' S T H E I R E N T I R E B U S I N E S S.     I F I T W A S T H E I R E N T I R E B U S I N E S S,

 7        I T W O U L D H A V E B E E N I N T H E P O W E R P O I N T.       IT WOULD HAVE BEEN IN

 8        T H E S L I D E S, A N D T H E Y W O U L D K N O W H O W T O S P E L L I T .         THEY SPELL IT

 9        D I F F E R E N T W A Y S , W I T H I N T H E B R I E F T W O D I F F E R E N T W A Y S, W I T H I N T H E

10        DECLARATION TWO DIFFERENT WAYS.                          J U S T F O R B R A N D I N G P U R P O S E S, I F

11        T H A T ' S Y O U R B U S I N E S S, Y O U ' R E G O I N G T O S E T T L E O N A W A Y T O S P E L L

12        T H E W O R D C O L L E C T I B L E S, S O I ' M N O T S E E I N G I T T H E N O R N O W , Y O U R

13        H O N O R.

14                      T H E C O U R T:     GO AHEAD AND TELL ME WHATEVER YOU WANT TO

15        TELL ME, SIR.

16                      M R . G E R S H E N S O N:    SURE.      M A Y I A P P R O A C H B R I E F L Y?

17                      T H E C O U R T:     O F C O U R S E.

18                      M R . G E R S H E N S O N:    S O T H I S I S J U S T F O R T H E R E C O R D,

19        BECAUSE COUNSEL KEEPS SAYING WE NEED TO DESTROY OR RETURN THE

20        M A T E R I A L S, A N D I J U S T W A N T T O B E P E R F E C T L Y C L E A R.        WE TOUCHED

21        BASE LAST NIGHT BECAUSE -- JUST TO BUTTON UP EVERYTHING SO THAT

22        T H E R E W A S N O C O N C E R N A B O U T A N Y O F T H I S I N F O R M A T I O N, N O N E O F

23        WHICH WE BELIEVE TO BE CONFIDENTIAL OR TRADE SECRET OR ANYTHING

24        OF THE LIKE.             N O N E T H E L E S S, T O B U T T O N E V E R Y T H I N G U P , W E H I R E D A

25        F O R E N S I C V E N D O R, T H E Y W E N T I N , T H E Y Q U A R A N T I N E D T H E M A T E R I A L S.




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 1        T H E Y P R E S E R V E D I T I N C A S E T H I S L I T I G A T I O N G O E S F O R W A R D, W H I C H

 2        WE CLEARLY HOPE IT DOES NOT, AND WE WILL FILED A MOTION TO

 3        D I S M I S S T O T H A T E F F E C T, A N D T H E Y D E L E T E D T H E M A T E R I A L S.

 4                     I'M SURPRISED TO HEAR THEM KEEP SAYING "WITHIN

 5        S E V E N D A Y S T H E Y N E E D T O D E L E T E T H E M A T E R I A L.       THEY NEED TO GET

 6        R I D O F T H E M A T E R I A L. "        HERE IT IS.         AS I SAID, AND WE WILL TELL

 7        T H E C O U R T T O M O R R O W, T H E M A T E R I A L S A R E D O N E.       THERE IS NO SUCH

 8        T H I N G A S Y O U R P O W E R P O I N T W I T H O U R C U S T O D I A N S A N Y M O R E, S O I J U S T

 9        W A N T T O G E T T H A T O F F T H E T A B L E, Y O U R H O N O R, P L E A S E.

10                     T H E C O U R T:     OKAY.

11                     M R . G E R S H E N S O N:     I N A D D I T I O N, I W I L L D E F I N I T E L Y N O T

12        T A K E T H E 1 5 M I N U T E S, B U T O N T H E B A L A N C E O F H A R M S, I W A N T T O

13        TOUCH ON THAT A LITTLE BIT.                       Y O U M E N T I O N E D T H E A R T I C L E T H A T' S

14        O U T T H E R E.    I M E A N , W E A R E T R Y I N G, A S W E S P E A K, T O C O N T I N U E T H E

15        PARTNERSHIPS THAT WE'VE BEEN BUILDING FOR MONTHS WITH THE NBA,

16        A N D A L L O T H E R S P O R T S L E A G U E S, A N D E N T E R T A I N E R S.      THIS IS A BIT

17        O F - - I D O N ' T W A N T T O U S E T H E W O R D C L O U D, B U T I T ' S A P R O B L E M

18        HANGING OVER US.                WE ARE TRYING TO MOVE FORWARD --

19                     T H E C O U R T:     THE WORD IS OUT THAT THIS COURT ISSUED THE

20        O R D E R.

21                     M R . G E R S H E N S O N:     H I G H L Y U N F O R T U N A T E, Y O U R H O N O R.

22        CLEARLY HAD NOTHING TO DO WITH US.

23                     T H E C O U R T:     I CAN'T IMAGINE THAT ANYONE HERE WOULD HAVE

24        D O N E T H A T , B U T I T ' S U N F O R T U N A T E.     N O , I K N O W Y O U W O U L D N' T .

25                     M R . R I C H A R D S O N:     THIS IS THE FIRST WE'VE HEARD OF IT,




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 1        Y O U R H O N O R.

 2                      M R . G E R S H E N S O N:   W E S A W I T A N D W E R E Q U I T E T A K E N A B A C K.

 3                      T H E C O U R T:     THE REASON THE COURT SAW IT IS IT'S BEEN

 4        R E P O R T E D O N L A W 3 6 0 A N D A L L T H E S E R V I C E S T H A T T H E C O U R T G E T S.

 5        I T ' S B E E N R E P O R T E D A L L O V E R T H E P L A C E I N L E G A L C I R C L E S, A N D I

 6        SAID, "HOW COULD THIS BE?"                     SO THAT'S WHY IT CAME TO MY

 7        A T T E N T I O N.    I D I D N ' T D O A N Y R E S E A R C H, I J U S T W A N T E D Y O U T O K N O W

 8        I T ' S B E E N R E P O R T E D.

 9                      M R . G E R S H E N S O N:   T H E A R T I C L E D I D Q U O T E M R . F E I N B L A T T,

10        N O T S A Y I N G T H A T Y O U H A D I S S U E D T H E O R D E R, B U T H E H A D S E N T

11        MATERIALS WAS THE FIRST SOURCE WE SAW.                              SO THAT WAS

12        DISCONCERTING THAT IT WOULD NEED CLARIFIED THAT THERE HAD BEEN

13        N O O R D E R F R O M T H E C O U R T.

14                      WE'RE ALSO DOING THE SERIES B.                        WE NEED A LEAD

15        I N V E S T O R.     TALK ABOUT BALANCE OF HARMS TO A LIVE COMPANY WHO IS

16        DOING GOOD BUSINESS AND INNOVATIVE THINGS EVERY DAY, THIS HAS

17        B E E N A R E A L P R O B L E M, A N D O B V I O U S L Y A N I N J U N C T I O N W O U L D U N D U L Y

18        HARM US.

19                      Q U I C K L Y, W E M E N T I O N E D B E F O R E T H E C O N T R A C T C L A I M S N O T A T

20        P L A Y H E R E , W A S N O T I N T H E I R P A P E R S.      I N A N Y E V E N T, T H E R E I S N O

21        B R E A C H O F T H I S C O N T R A C T.    W E D I D N ' T U S E T H E I R I N F O R M A T I O N.   WE

22        DIDN'T DISCLOSE WHATEVER THEIR PURPORTED TRADE SECRET MAY BE.

23        T H E M O T I O N T O D I S M I S S A D D R E S S E S T H A T A S W E L L.

24                      A N D T H E N T H E Y K E E P S A Y I N G, " W H Y D I D N ' T Y O U R E S P O N D T O

25        US AND TELL US THAT YOU HAD THIS IDEA?"                              WE DIDN'T HAVE TO




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 1        B E C A U S E I T W A S P U B L I C.          W E H A D T H E T W E E T S.         W E H A D T H E A R T I C L E.

 2        THIS IS WHAT WE DO.                    A N D W E S A I D, " W E ' R E T H E F L A G B E A R E R S, " S O

 3        T H E R E' S N O T H I N G U N T O W A R D A B O U T N O T T E L L I N G A T O T A L S T R A N G E R,

 4        W H O K I N D O F W A S H A R A S S I N G, A N D S E N D I N G E M A I L A F T E R E M A I L, " C A N

 5        YOU CALL ME?               CAN YOU CALL ME?"                WE JUST SAID, "WE DON'T WANT

 6        TO DO BUSINESS WITH YOU.                         W E ' L L T A L K T O Y O U I N J U N E.          LEAVE US

 7        A L O N E. "      T H E R E' S N O T H I N G U N T O W A R D A B O U T D O I N G T H A T .       T H A T' S H O W

 8        BUSINESS IS DONE.

 9                         W H E N Y O U P R E S E N T A N U N A P P E A L I N G, I N C O H E R E N T P O W E R P O I N T,

10        Y O U ' R E P R O B A B L Y N O T G O I N G T O G E T A L O T O F R E A C T I O N B A C K, A N D

11        THAT'S WHAT HAPPENED HERE.

12                         W E D E F I N I T E L Y A G R E E, Y O U R H O N O R, T H A T T H E O R D E R S H O U L D

13        A N D I N F A C T N E E D S T O B E O P E N E D.            THANK YOU.

14                         T H E C O U R T:     THANK YOU.          I N T E R E S T I N G.      T H E I S S U E' S

15        I N T E R E S T I N G, A N D T H E T E C H N O L O G Y I S I N T E R E S T I N G.         I LEARNED A

16        L O T A B O U T W H A T ' S G O I N G O N O U T T H E R E.           I W A S N' T F A M I L I A R W I T H

17        C R Y P T O K I T T I E S, T O B E H O N E S T.        I DON'T KNOW WHO ALL THE PEOPLE

18        A R E W H O A R E D O I N G A L L O F T H I S, B U T I T W A S F A S C I N A T I N G.

19                         I'M GOING TO GO BACK THROUGH EVERYTHING BECAUSE I KNOW

20        THESE LEGAL ISSUES ARE CRITICAL TO YOUR CLIENTS AND TO YOUR

21        C L I E N T S.      I ' L L G O B A C K T H R O U G H E V E R Y T H I N G.         YOU'LL GET A

22        R E A S O N E D O R D E R.      I W I L L P U T I T U P O N T H E P U B L I C S I D E O F T H I N G S.

23        I T W O N ' T B E U N D E R S E A L.

24                         DOES THIS TRANSCRIPT NEED TO STAY UNDER SEAL?

25                         M R . G E R S H E N S O N:    F R O M O U R P E R S P E C T I V E, N O , Y O U R H O N O R.




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 1                       M R . L O B B I N:    W E S H A R E T H A T S E N T I M E N T.      WE DON'T THINK

 2        IT NEEDS TO BE UNDER SEAL.

 3                       T H E C O U R T:     ALTHOUGH NOBODY HAS BEEN IN HERE THIS

 4        AFTERNOON LISTENING TO US -- I KNOW YOU WERE CONCERNED ABOUT

 5        THAT AT THE OUTSET -- THE TRANSCRIPT IS OPEN AND IS NOT UNDER

 6        SEAL, SO I APPRECIATE THAT.

 7                       SO THANK YOU, AND YOU'LL HEAR FROM THE COURT IN DUE

 8        C O U R S E.

 9                       M R . L O B B I N:    T H A N K Y O U , Y O U R H O N O R.

10                       M R . G E R S H E N S O N:   T H A N K Y O U , Y O U R H O N O R.

11        ( C O U R T W A S A T R E C E S S. )

12

13

14

15

16

17                                              C E R T I F I C A T E

18

19                           I , G A Y L E W A K E F I E L D, C E R T I F Y T H A T I A M A D U L Y
          QUALIFIED AND ACTING OFFICIAL COURT REPORTER FOR THE UNITED
20        S T A T E S D I S T R I C T C O U R T, T H A T T H E F O R E G O I N G I S A T R U E A N D
          ACCURATE TRANSCRIPT OF THE PROCEEDINGS AS TAKEN BY ME IN THE
21        A B O V E- E N T I T L E D M A T T E R O N J U N E 1 4 , 2 0 1 8 ; A N D T H A T T H E F O R M A T
          USED COMPLIES WITH THE RULES AND REQUIREMENTS OF THE UNITED
22        S T A T E S J U D I C I A L C O N F E R E N C E.

23

24        D A T E D:     JUNE 28, 2018                        /S/ GAYLE WAKEFIELD
                                                              G A Y L E W A K E F I E L D, R P R , C R R
25                                                            OFFICIAL COURT REPORTER




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